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                        2.5   Pressure Ratings I Tests

                              The bodies of the completion equipment shall be rated to at least the maximum anticipated
                              well pressures, although a higher rating may be required for individual components, (e.g.,
                              TR-SCSSV control system, hydraulic actuation, absolute pressure components, etc.). The
                              completions will be tested to the maximum anticipated pressures.

                              Pressure ratings and differential pressure requirements for the typical projects can be found
                              on in Section 3, Appendix 6, Part 6 - Well-Bore Information. In general maximum anticipated
                              pressures are 10,000 psi - 20,000 psi.


                        2.6   Temperature Rating

                              Equipment shall be rated for the temperature range 40 degrees Fahrenheit to 275 degrees
                              Fahrenheit with HT range to include 300 degrees Fahrenheit.

                              Material strengths shall be de-rated as appropriate for the temperatures.


                        2.7   Well Profile

                              Wells will range from non-deviated (straight hole) to highly deviated (70-90 degrees). The
                              completion intervals will range from non-deviated sections to highly deviated sections
                              including horizontal for some OHGPs. Average build rate for planned well paths typically will
                              not exceed an average of 4.5 degrees per 100 ft on any well. Dog leg severity at discrete
                              pOints may be up to 10.0 degrees per 100 ft. For more details about typical well profiles, see
                              Section 3, Appendix 6, Part 6 - Well-Bore Information.


                        2.8   Mud I Fluid System

                              The reservoir section will be drilled with synthetic oil-based mud. The mud will be
                              conditioned to a level between 175 and 325 US mesh using shaker screens prior to running
                              casing. The sand control screens will be run in clear completion brines consisting of Calcium
                              Bromide (CaBr2), Calcium Chloride (CaCh), and lor Zinc Bromide (ZnBr).


                        2.9   Intervention Fluids and Treatment Chemicals

                              It is anticipated that the following fluids may be used for well intervention purposes and for
                              treatment of produced and injected fluids over the life of the well. The list is not exhaustive
                              but covers the majority of fluids that are likely to be used. Detailed fluid selection will be
                              specified in Section 3, Appendix 6, Part 6 - Well-Bore Information.

                              2.9.1   Hydrochloric Acid (HCI): May be used for mud cake removal during well clean-up and
                                      for CaC0 3 scale removal. It is anticipated that Hel acid concentrations up to 15%
                                      may be used.

                              2.9.2   Scale Dissolvers I EDTA: May be used for mud cake removal during well clean-up
                                      and for removal of both BaS04 and CaC0 3 scales.

                              2.9.3   Mutual Solvents: May be pumped as part of chemical stimulation or scale inhibition
                                      treatments.



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                              2.9.4    Surfactants: May be pumped as part of chemical stimulation or scale inhibition
                                       treatments.

                              2.9.5    Organic Solvents: May be used for stimulation treatments.

                              2.9.6    Scale Inhibitors: May be used to prevent both BaS04 and CaC0 3 scales. Scale
                                       inhibitors will be pumped in the tubing via the chemical injection mandrel above the
                                       production packer in producers. Scale inhibitors may also be required to be pumped
                                       into the formation in squeeze treatments.

                              2.9.7    Methanol: May be used for hydrate removal in the upper completion and the
                                       christmas tree.

                              2.9.8    Glycol: May be used for hydrate inhibition.

                              2.9.9    Relative Permeability Modifiers: May be used for water shut-off treatments.

                              2.9.10 Water Shut-off Gels: May be pumped into the formation as water shut-off treatments.

                              2.9.11   Oxygen Scavengers: May be used in injected seawater during steady state water
                                       injection and during initial injectivity tests.

                              2.9.12 Corrosion Inhibitor: May be used in the injected produced water.

                              2.9.13 Biocide: May be used in the injected water.

                              2.9.14 Xylene: May be used for asphaltene remediation.


                        2.10 Testing and Qualification

                             Testing and qualification of equipment shall be performed in accordance with the standards
                             (API, ISO etc.) that have been identified herein. Regardless as to whether or not a standard
                             has been identified for the equipment, CONTRACTOR shall test and qualify all equipment in
                             accordance with documented plans and procedures (see Clause 2.11 - Technical Integrity
                             Assurance). These tests shall include analysis for all installation, tie-back, production load
                             cases, contingency tools, and interventions.       Welding, mechanical testing, and non-
                             destructive testing shall be performed in accordance with recognized COMPANY and
                             international standards.

                             Additional testing and qualification may be required for non-standard (new or modified)
                             equipment. Testing programs and procedures are subject to review and approval by
                             COMPANY. CONTRACTOR shall perform Failure Mode Effect and Criticality Assessment
                             (FMECA) for any downhole equipment that is of a new or modified design. COMPANY shall
                             be given the option of taking part in FMECA programs.

                             All design assumptions and calculations shall be made available for audit or verification. All
                             proposed equipment may be subjected to a COMPANY specified design review process
                             (e.g., Detailed Design Review).

                             Gravel pack packers, when used as production packers, shall be qualified in accordance with
                             API Specification 11D1 / ISO 14310 and to a design validation grade V3 for oil service and
                             VO for gas service. (CONTRACTOR equipment meets ISO 14310 quality grade Q2.) The
                             API monogram shall be required.



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                        2.11   Technical Integrity Assurance

                               Technical integrity assurance requirements inclusive of quality assurance, quality control, and
                               design verification requirements are given in the following documents:

                               •        BP-EPT-IAS-01 :          Integrity Assurance Specification (lAS) for the Procurement
                                                                 of Critical equipment for Drilling & Completions (excluding
                                                                 Tubular Products).

                               •        BP-EPT-IAS-02:           Integrity Assurance Specification (lAS) for the Procurement
                                                                 of Critical equipment for Drilling & Completions (excluding
                                                                 Tubular Products).

                               •        BP-DC-EIA-DRP-01 :       Design Review Process for Drilling, Completion and Subsea
                                                                 Equipment.

                               In cases where a BP Global QCP exists, this shall be used for critical equipment.


                        2.12 Marking and Traceability

                               Where traceability is a requirement for compliance with the respective API or other standard,
                               CONTRACTOR shall control and record the unique identification of equipment. The
                               components shall be marked as follows:

                               2.12.1    Supplier's name.

                               2.12.2 COMPANY Purchase Order number.

                               2.12.3 Supplier part number.

                               2.12.4 Assembly number.

                               2.12.5 Serial number.

                               2.12.6 Size and rated working pressure.

                               2.12.7 Date of manufacture.

                               2.12.8 API Monogram (as appropriate).


                        2.13 Storage Requirements

                               CONTRACTOR is responsible for the storage and protection of all goods and materials being
                               supplied. Goods and materials shall be adequately protected against corrosion, handling,
                               and transportation damage through the use of suitable protection and measures which shall
                               include, but not be limited to, the following:

                               2.13.1    All non-metallic completion items with the exception of fully assembled modules shall
                                         be stored in a temperature-controlled atmosphere to prevent deterioration.




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                              2.13.2 Elastomers, including packers and seal elements, shall be stored inside an
                                     environmentally controlled atmosphere in closed lightproof packets (complete with
                                     cure date and expiration date details) and protected against mechanical damage,

                              2.13.3 All metallic completion equipment shall be handled, transported, and stored in
                                     accordance with BP GIS-02-207, Guidance Document for the Handling,
                                     Transportation and Storage of Casing & Tubing (OCTG) or CONTRACTOR's
                                     procedures whichever is the more stringent. Although BP GIS-02-207 is for OCTG,
                                     the same requirements shall be applied to completion equipment as appropriate.

                              2.13.4 All CRA materials (see BP GIS-02-207, Section 3 for definition of CRA) shall be
                                     stored away from harmful environments such as chloride-laden atmosphere (salt air),

                              2.13.5 All completion items including all fully assembled modules shall be properly stored
                                     (vertical and / or horizontal) under cover to prevent corrosion, contamination, and
                                     damage. Ports and bores shall be protected to prevent ingress of debris, insects
                                     (and their remains) and / or animals (and their remains),

                              2.13.6 All completion items including fully assembled modules shall have the appropriate
                                     preservation / protection applied as advised by the original equipment manufacturer.

                              2.13.7 All temporary corrosion protection fluids and greases shall be of a low sulfur type,
                                     compatible with the intended hydrocarbon service and non-damaging to the
                                     completion.

                              2.13.8 Thread protectors shall be used for all threaded connections (composite plastic,
                                     breathable type for premium connections, steel style for API type connections).

                              2.13.9 CONTRACTOR shall ensure that all sealing surfaces shall be adequately protected
                                     against corrOSion, impact, and abrasion damage.

                              2.13.10 Shear pins shall be closely controlled to avoid the risk of improper use in assembly
                                      and preparation. Procedures shall be in place to ensure segregation of new and
                                      used shear stock and other consumable items.

                              2.13.11 All equipment exposed to salt I brine atmosphere I fluids and returned to
                                      CONTRACTOR for storage shall be rinsed in potable water to ensure that no salt
                                      deposit remains and that the residual chloride ion concentration of the waste water is
                                      negligible «100 milligrams per liter or the level of atmospheric chloride
                                      concentration, whichever is greater) after the equipment has been allowed to soak
                                      for 30 minutes.


                 3.0    OPEN HOLE GRAVEL PACK (OHGP) COMPLETIONS

                        3,1   General

                              The main objective is to achieve a complete gravel pack with a low skin,

                              3.1.1     Typical project sand face conditions can be found in Part 6 - Well Bore Information
                                        for representative well types.


                        3,2   Technical Requirements




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                             3.2.1   General

                                     All equipment shall have a temperature rating, burst J collapse pressure rating, as
                                     identified in Clause 2.0 of this PART 3, unless otherwise specified by COMPANY.

                                     All equipment shall be capable of being run and set inside the production casing as
                                     identified in Clause 2.0 of this PART 3, unless otherwise specified by COMPANY.

                                     All equipment shall be of the appropriate metallurgy for the service required as given
                                     in Clause 2.0 of this PART 3, unless otherwise specified by COMPANY. All
                                     components to meet requirements of NACE MR-01-75 unless otherwise stated.

                             3.2.2   Gravel Pack Packer

                                     The gravel pack packer is intended to provide the primary tubing to casing barrier
                                     during sand control operations. The packer is set and tested by means of the GP
                                     service tool.

                                     (a)     Service life shall be 20 years, unless stated otherwise by COMPANY.

                                     (b)     Packer shall have a 5,000 psi differential pressure rating (plugged and
                                             unplugged). A higher rating of 6,500 psi may be needed for some over-
                                             pressu red reservoirs.

                                     (c)     Minimum packer seal bore shall be 6.00".

                                     (d)     Packer shall be capable of setting in solids laden synthetic oil-based mud.

                                     (e)     The bottom connection shall be compatible with extensions and approved by
                                             COMPANY.

                                     (f)     The tensile J compressive rating shall be compatible with the rating of screen
                                             base pipe.

                                     (g)     Packer shall have bi-directional circumferential slips.

                                     (h)     Packer shall be hydraulically set with GP service tool.

                                     (i)     Packer shall be retrievable (cut or shifting tool) without having to mill.

                                     (j)     Run in hole rate shall be 0.8 ft per second. Packer shall be capable of
                                             circulating while running in hole without risk of pre-set or swabbing of the
                                             element with the following circulating conditions: rate greater than 8 bpm in
                                             synthetic oil-based mud, plastiC viscosity of 20, yield point of 24 at 120 degrees
                                             Fahrenheit.

                                     (k)     Packer shall be capable of an over pull of 100,000 Ibs and set down weight of
                                             200,000 Ibs without movement or compromise of seal element.

                                     (I)     Packer shall be capable of pressure and compression / tension (+1- 40,000 Ibs)
                                             testing following set without compromise to fluids or tools.

                                     (m)     Packer shall allow for easy entry of wireline tools, coiled tubing tools, and
                                             tractors at high well bore deviations.




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                                     (n)     Gravel pack packers, when used as production packers, shall be qualified in
                                             accordance with API Specification 11 D1 IISO 14310 and to a design validation
                                             grade V3 for oil service and VO for gas service. (CONTRACTOR equipment
                                             meets ISO 14310 quality grade Q2.) The API monogram shall be required.

                             3.2.3   Gravel Pack Extensions (including Gravel Circulation Port)

                                     (a)     GP extensions shall be compatible with GP packer and Fluid Loss Control
                                             Valve.

                                     (b)     The connections shall be COMPANY approved.

                                     (c)     The gravel circulation port isolation sleeve shall be capable of mechanically
                                             being shifted closed when the GP service tool 1 wash pipe is pulled through the
                                             assembly.

                                     (d)     The gravel circulation port isolation sleeve requires a positive means of
                                             position retention when open and closed (seal friction is not considered
                                             positive means of retention).

                                     (e)     Tensile I Compressive rating shall be compatible with rating of screen base
                                             pipe.

                                     (f)     Minimum differential pressure rating for isolation sleeve shall be 5,000 psi
                                             when closed. A rating of 6,500 psi is preferred.

                             3.2.4   GP Service Tool (Rental)

                                     (a)     The service tool shall be capable of operations in solids laden reservoir drill in
                                             fluid.

                                     (b)     The service tool shall be a one trip system.

                                     (c)     The GP Packer Hydraulic Setting Tool shall have to follow requirements:

                                             (i) A feature to allow circulation without applying a load to the packer setting
                                                 mechanism.

                                             (ii) Capable of setting the GP Packer with applied tubing pressure.

                                             (iii) Allow for hydraulic release of service tool from packer, with a mechanical
                                                   back-up release.

                                             (iv) Allow gravel circulation port isolation sleeve to be locked in place once
                                                  shifted open, and ball / flapper secured for reverse circulation.

                                     (d)     The service tool shall have a differential pressure rating of 5,000 psi.

                                     (e)     The service tool shall be designed to maintain hydrostatic overbalance to the
                                             open hole during all steps of the operation and prevent pressure surge and
                                             swabbing to the formation during setting of the packer and positioning of the
                                             tool prior to pumping gravel pack.

                                     (f)     The service tool shall have a positive indication of position when performing all
                                             functions of the service tool (weight down in the gravel pack pumping position).



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                                     (g)                                                             °
                                             The service tool shall be able to pump a slurry of 1 ppa at 10 bpm for a total
                                             of 1 00,000 Ibs of gravel without performance degradation or erosion.

                                     (h)     Service tool seals, collets, or other parts shall be compatible with 6.000"
                                             nominal seal bore.

                                     (i)     The service tool shall be compatible with closing mechanism of gravel
                                             circulation port isolation sleeve assembly (capable of shifting mechanically with
                                             axial motion of the GP service tool).

                                     (j)     The service tool shall be capable of carrying packer, screens and associated
                                             gravel pack extension assembly through well bore profile into open hole
                                             (packer remains inside casing). The tensile rating while carrying packer and
                                             screens shall be compatible with the screen coupling rating.

                                     (k)     The service tool shall be capable of annulus pressure and push 1 pull test (+1-
                                             40,000 Ibs) of packer following setting without compromise to fluids or tools
                                             while maintaining communication with the formation.

                                     (I)     The service tool shall be capable of redirecting the fluid flow path to the inside
                                             ofthe wash pipe string to facilitate post-gravel pack chemical treatment.

                                     (m)     Tool shall provide a tell tale of final gravel port closing sleeve position.

                                     (n)     The tool shall be compatible with shifting tools. The shifting tool for the Fluid
                                             Loss Control Valve shall not inadvertently open the port closure sleeve.

                             3.2.5   Quick Connect Sub

                                     The quick connect sub negates the need for rotation of the GP assembly during the
                                     final make-up to the wash pipe 1 extensions I blanks.

                                     (a)     The tensile I compressive rating shall be compatible with rating of screen base
                                             pipe.

                                     (b)     Sub shall have an anti rotational lock capable of having limited (greater than
                                             5,000 ft-Ibs) torque put through it. Minimum collapse shall be equal to or
                                             greater than the gravel pack extension. Threads shall be compatible with the
                                             GP extension such that no crossovers are required.

                             3.2.6   Crossovers

                                     Crossovers shall be manufactured in accordance with ISO 11960 (API 5CT) and BP
                                     GIS-02-203.

                             3.2.7   PBR

                                     (a)     PBR in lower completion assembly shall accommodate a seal stinger on the
                                             wash pipe, to enable circulation down wash pipe and out through wash down
                                             shoe.

                                     (b)     Pup joint




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                                             If required, the PBR shall have a 5.5" pup joint (+/- 2 ft in length) for space out
                                             ofthe seal stinger inside the PBR.

                                     (c)     The PBR shall have a device that provides a means of relieving the hydraulic
                                             lock between the wash pipe seals and wash down shoe check valves during
                                             movement of the wash pipe (if required).

                             3.2.8   Wash Down Shoe

                                     (a)     A double check valve design shall be used to allow circulation (>B bpm) and
                                             wash down while screen assemblies are being run in hole and to prevent
                                             returns when performing open hole gravel pack.

                                     (b)     Check valve spring metallurgy shall be compatible with any fluid that may be
                                             circulated (e.g., acid).

                                     (c)     GoM: If required, the wash down shoe shall have a 5.5" pup joint (+/- 2 ft in
                                             length) for space out of the seal stinger inside the PBR.

                             3.2.9   Wash Pipe (Rental)

                                     (a)     The wash pipe shall be 4" 00, 11.6 ppf (or other appropriate size i.e., 2 7/B"
                                             00,6.5 ppf) and grade N80.

                                     (b)     Connections shall be Hydril 511 connections or flush joint equivalent to be
                                             approved by COMPANY.

                                     (c)     The wash pipe swivel (for connection of GP assembly to wash pipe string) shall
                                             be compatible with the Fluid Loss Control Valve 10.

                                     (d)     The wash pipe shall have an internal corrosion resistant powder coating
                                             (TK34P).

                             3.2.10 Wash Pipe Tools (Rental)

                                     (a)     A seal stack at the end of the wash pipe shall be required for isolation inside
                                             the PBR above the wash down shoe.

                                     (b)     Gauge carriers shall be flush with the 00 of the wash pipe.

                                     (c)     Downhole electronic memory pressure and temperature gauges minimum
                                             requirements shall be: 0.5 second sample rate, 1MB memory, >14 days
                                             battery life, +/- 5 psi pressure accuracy, 0.05 psi pressure resolution, 0.5
                                             degree Celsius temperature accuracy, and 0.001 degree Celsius temperature
                                             resolution.

                                     (d)     Gauges shall be placed at locations in the wash pipe string specified by
                                             COMPANY.

                                     (e)     In order to reduce differential pressure across the wash pipe, the wash pipe
                                             shall have valves to change flow path (reduce length of wash pipe).

                                     (f)     Wash pipe tools shall have a logging tool to measure gravel density in the
                                             screen open hole annulus to assess degree of pack achieved.




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                                      (g)     Wash pipe tools I carriers connections shall be compatible with wash pipe.

                                      (h)     The same technician shall run both the gauges for wash pipe tools and
                                              downhole data acquisition.

                             3.2.11   Downhole Data Acquisition (Rental)

                                      (a)     Gauge carriers shall be used to carry gauges for 100% redundancy.

                                      (b)     At least two downhole electronic memory pressure and temperature gauges,
                                              measuring in both annulus and tubing, shall be provided and located above the
                                              GP service tool in the running string.

                                      (c)     Downhole electronic memory pressure and temperature gauges minimum
                                              requirements shall be: 0.5 second sample rate, 1MB memory, >14 days
                                              battery life, +/- 5 psi pressure accuracy, 0.05 psi pressure resolution, 0.5
                                              degree Celsius temperature accuracy, and 0.001 degree Celsius temperature
                                              resolution.

                                      (d)     Data acquisition and reporting capabilities shall be COMPANY approved.

                             3.2.12 Upper Completion Interface

                                      The upper completion interface for producers requires a latch seal extension and
                                      guide shoe to sting inside the lower completion.

                                      (a)     Latch Mechanism

                                              (i)     Latch mechanism shall be compatible with gravel pack packer.

                                              (ii) Latching mechanism shall be capable of verifying seal position with an
                                                   over pull of 20,000 Ibs (minimum 5% loss of snap force over 5 snap in lout
                                                   cycles).

                                              (iii) Latch shall be capable of taking 200,000 Ibs set down weight when seals
                                                    are fully landed in the packer to accommodate shearing upper contraction
                                                    joint or PBR.

                                      (b)     Seal Stack

                                              (i)      Seal extension and seal assembly shall seal inside GP extension PBR to
                                                       isolate gravel circulating port.

                                              (ii)     Seal unit shall have a minimum 10 of 4.6".

                                              (iii)    Bonded seals shall have elastomers as specified in Clause 2.0 of this
                                                       PART 3 and be COMPANY approved.

                                      (c)     Guide Shoe

                                              (i)      Guide shoe 00 shall be compatible with GP packer and GP extension
                                                       10.




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                                                (ii)    Guide shoe shall have self aligning functionality, and a spring covered by
                                                        sleeve to isolate shoe from well bore fluid. CONTRACTOR does not
                                                        provide a cover for sleeve to isolate shoe from well bore fluid.

                                                (iii)   Guide shoe shall provide smooth continuity for intervention tools (CT or
                                                        tractor).

                                                (iv)    Guide shoe shall have a minimum ID of 4.6".


                 4.0    CASED HOLE FRAC PACK (CHFP) COMPLETIONS

                        4.1   General

                              4.1.1     Typical project sand face conditions can be found in Part 6 - Well Bore Information
                                        for representative well types.

                        4.2   Technical Requirements

                              4.2.1     General

                                        All equipment shall have a temperature rating, burst J collapse pressure rating, as
                                        identified in Clause 2.0 of this Part 3, unless otherwise specified by COMPANY.

                                        All equipment shall be capable of being run and set inside the production casing as
                                        identified in Clause 2.0 of this Part 3, unless otherwise specified by COMPANY.

                                        All equipment shall be of the appropriate metallurgy for the service required as given
                                        in Clause 2.0 of this Part 3, unless otherwise specified by COMPANY. All
                                        components to meet requirements of NACE MR-01-75 unless otherwise stated.

                              4.2.2     Gravel Pack Packer

                                        The Gravel Pack packer is intended to provide the primary tubing to casing barrier
                                        during sand control operations. The packer is set and tested by means of the GP
                                        Service Tool.

                                        (a)     Service life shall be 20 years, unless stated otherwise by COMPANY.

                                        (b)     The differential pressure rating shall be 10,000 - 15,000 psi (plugged and
                                                unplugged, i.e., pressure test against FLCV). Further details can be found in
                                                Part 6 - Well Bore Information for representative well types.

                                        (c)     Packer seal bores shall be 3.25 - 6.00". Further details can be found in Part 6
                                                - Well Bore Information for representative well types.

                                        (d)     Bottom connection shall be compatible with extensions and approved by
                                                COMPANY.

                                        (e)     Tensile! compressive rating shall be compatible with rating of screen base
                                                pipe.

                                        (f)     The packer shall have bi-directional circumferential slips.

                                        (g)     Packer shall be hydraulically set with GP service tool.



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                                     (h)     Packer shall be retrievable (cut or shifting tool) without having to mill.

                                     (i)     Run in hole rate shall be 0.8 ft per second. Packer shall be capable of
                                             circulating while running in hole without risk of pre-set or swabbing of the
                                             element at rates greater than 8 bpm.

                                     (j)     Packer shall have the ability to facilitate over pull of 100,000 Ibs and set down
                                             weight of 160,000 Ibs without movement or compromise of element seal.
                                             Further details can be found in Part 6 - Well Bore Information for
                                             representative well types.

                                     (k)     Packer shall be capable of pressure test and compression f tension (+/- 40,000
                                             Ibs) test following packer set without compromise to fluids or tools.

                                     (I)     Packer shall allow for easy entry of wire line tools, coiled tubing tools, and
                                             tractors at high deviations.

                                     (m)     Packer shall be in accordance with API Specification 11 D1 IISO 1431 a and to
                                             a design validation grade V3 for oil service and va for gas service unless
                                             otherwise specified by COMPANY. (CONTRACTOR equipment meets ISO
                                             14310 quality grade Q2.) The API monogram shall be required. Further
                                             details can be found in Part 6 - Well Bore Information for representative well
                                             types.

                             4.2.3   Gravel Pack Extensions (including Gravel Circulation Port)

                                     (a)     Extensions shall be compatible with GP packer and Fluid Loss Control Valve.

                                     (b)     Connections shall be COMPANY approved.

                                     (c)     Gravel circulation port isolation sleeve shall be capable of mechanically being
                                             shifted closed when the GP service tool I wash pipe is pulled through the
                                             assembly.

                                     (d)     Gravel circulation port isolation sleeve shall have a positive means of position
                                             retention when open and closed (seal friction is not considered positive means
                                             of retention).

                                     (e)     The tensile I compressive rating shall be compatible with rating of screen base
                                             pipe.

                                     (f)     The differential pressure rating shall have a minimum differential pressure
                                             rating for isolation sleeve shall be 10,000 psi when closed.


                             4.2.4   Gravel Pack Service Tool (Rental)

                                     The GP Service Tool is a rental service tool used to set the Gravel Pack packer and
                                     provide a conduit for placing gravel pack slurry from the tubing ID to the annulus area
                                     outside the screens in the open hole.

                                     (a)     The assembly shall be a one trip system.

                                     (b)     The GP Packer Hydraulic Setting Tool shall meet the follow requirements:



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                                             (i)     A feature to allow circulation without applying a load to the packer setting
                                                     mechanism.

                                             (ii)    Capable of setting the GP Packer with applied tubing pressure.

                                             (iii)   Allow for hydraulic release of service tool from packer, with a mechanical
                                                     back-up release.

                                             (iv)    Allow gravel circulation port isolation sleeve to be locked in place once
                                                     shifted open, and ball secured for reverse circulation.

                                     (c)     Differential pressure requirements can be found in Appendix - Well Bore
                                             Information for representative well types.

                                     (d)     The service tool shall be designed to maintain hydrostatic overbalance to the
                                             open hole during all steps of operation and prevent pressure surge and
                                             swabbing to the formation during setting of the packer and positioning of the
                                             tool prior to pumping the gravel pack.

                                     (e)     The service tool shall have positive indication of position when performing all
                                             functions of the service tool (weight-down in the gravel pack pumping position).

                                     (f)     The service tool shall be compatible with closing mechanism of gravel
                                             circulation port isolation sleeve assembly (capable of shifting mechanically with
                                             axial motion of the GP service tOOl).

                                     (g)     The service tool shall be capable of carrying packer, screens and associated
                                             gravel pack extension assembly through well bore. The tensile rating while
                                             carrying packer and screens shall be compatible with the screen coupling
                                             rating.

                                     (h)     The service tool shall be capable of annulus pressure and push / pull test (+/-
                                             40,000 Ibs) of packer following setting without compromise to fluids or tools
                                             while maintaining communication with the formation

                                     (i)     Service Tool seals, collets, or other parts shall be compatible with nominal seal
                                             bore.

                                     0)      The service tool shall be capable of pumping a slurry of up to 12 ppg at up to
                                             45 bpm for a total of up to 300,000 Ibs of gravel without performance
                                             degradation or erosion on larger systems. Further details can be found in Part
                                             6 - Well Bore Information for representative well types.


                                     (k)     The service tool shall have the ability to test gravel port closing sleeve after
                                             shifting closed.

                             4.2.5   Quick Connect Sub

                                     The quick connect sub negates the need for rotation of the GP assembly during the
                                     final make-up to the wash pipe I extensions I blanks.

                                     (a)     The tensile f compressive rating shall be compatible with rating of screen base
                                             pipe.



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                                     (b)     Sub shall have an anti rotational lock capable of having limited (greater than
                                             5,000 ft-Ibs) torque put through it.

                                     (c)     Body burst I collapse rating shall be compatible with gravel pack extension and
                                             further details can be found in Part 6 - Well Bore Information for representative
                                             well types.

                             4.2.6   Safety Shear Sub I Shear Safety Joint

                                     (a)     The maximum tensile I compressive rating shall be compatible with rating of
                                             screen base pipe.

                                     (b)     The body burst I collapse rating shall be compatible with gravel pack
                                             extension. Further details can be found in Part 6 - Well Bore Information for
                                             representative well types.

                                     (c)     The shear rating shall be further details can be found in Part 6 - Well Bore
                                             Information for representative well types.

                             4.2.7   Crossovers

                                     (a)     Crossovers shall be manufactured in accordance with ISO 11960 (API 5CT)
                                             and BP GIS-02-203.

                                     (b)     Connections shall be compatible with blank pipe and extensions.

                             4.2.8   Sump Packer

                                     (a)     Setting method shall be with drill pipe or electric line (if possible) for depth
                                             control.

                                     (b)     Service life shall be 20 years, unless stated otherwise by COMPANY.

                                     (c)     The minimum pressure rating shall be as per Part 6 - Well Bore Information for
                                             representative well types.


                                     (d)     The minimum seal bore 10 shall be as per Part 6 - Well Bore Information for
                                             representative well types.

                                     (e)     The sump packer shall be in accordance with API Spec 1101 I ISO 14310.
                                             Validation Grade V3 and Quality Grade Q1 shall be used. (CONTRACTOR
                                             equipment meets ISO 14310 quality grade Q2.)

                             4.2.9   Wash Pipe (Rental)

                                     (a)     Wash pipe size and grade shall be as per Part 6 - Well Bore Information for
                                             representative well types.

                                     (b)     Connections shall be Hydril 511 connections or flush joint equivalent to be
                                             approved by COMPANY.

                                     (c)     The wash pipe swivel (for connection of GP assembly to wash pipe string) shall
                                             be compatible with the Fluid Loss Control Valve 10.



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                                      (d)     The wash pipe shall have an internal corrosion resistant powder coating
                                              (TK34P).

                             4.2.10 Wash Pipe Tools (Rental)

                                      (a)     A seal stack at the end of the wash pipe shall be required for isolation inside
                                              the PBR above the wash down shoe.

                                      (b)     Gauge carriers shall have a full bore equivalent to the ID ofthe pipe.

                                      (c)     Gauge carriers to carry gauges for 100% redundancy.

                                      (d)     Downhole electronic memory pressure and temperature gauges minimum
                                              requirements shall be: 0.5 second sample rate, 1MB memory, >14 days
                                              battery life, +/- 5 psi pressure accuracy, 0.05 psi pressure resolution, 0.5
                                              degree Celsius temperature accuracy, and 0.001 degree Celsius temperature
                                              resolution.

                                      (e)     Gauges shall be placed at locations in the wash pipe string specified by
                                              COMPANY.

                                      (f)     In order to reduce differential pressure across the wash pipe, the wash pipe
                                              shall have valves to change flow path (reduce length of wash pipe).

                                      (g)     Wash pipe tools shall have a logging tool to measure gravel density in the
                                              screen annulus to assess degree of pack achieved.

                                      (h)     Wash pipe tools / carriers connections shall be compatible with wash pipe.

                                      (i)     A seal stack at the end of the wash pipe shall be required for isolation inside
                                              the PBR above the wash down shoe.


                             4.2.11   Downhole Data Acquisition (Rental)

                                      (a)     Gauge carriers shall be used to carry gauges for 100% redundancy.

                                      (b)     At least two downhole electronic memory pressure and temperature gauges,
                                              measuring in both annulus and tubing, shall be provided and located above the
                                              GP service tool in the running string.

                                      (c)     Downhole electronic memory pressure and temperature gauges minimum
                                              requirements shall be: 0.5 second sample rate, 1MB memory, >14 days
                                              battery life, +/- 5 psi pressure accuracy, 0.05 psi pressure resolution, 0.5
                                              degree Celsius temperature accuracy, and 0.001 degree Celsius temperature
                                              resolution.

                                      (d)     Data acquisition and reporting capabilities shall be COMPANY approved.


                             4.2.12 Upper Completion Interface and Locator Seal Assembly

                                      The upper completion interface for producers requires a latch seal extension and
                                      guide shoe to sting inside the lower completion.



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                                        (a)     Latch Mechanism

                                                (i)     Latch mechanism shall be compatible with gravel pack packer.

                                                (ii)    Latching mechanism shall be capable of verifying seal position with an
                                                        over pull of 20,000 Ibs (minimum 5% loss of snap force over 5 snap in /
                                                        out cycles).

                                                (iii)   Latch shall be capable of taking 200,000 Ibs set down weight when seals
                                                        are fully landed in the packer to accommodate shearing upper
                                                        contraction joint or PBR.

                                        (b)     Seal Stack

                                                (i)     Seal extension and seal assembly shall seal inside extension PBR to
                                                        isolate gravel circulating port.

                                                (ii)    See Part 6 - Well Bore Information for seal unit minimum ID for
                                                        representative well types.

                                                (iii)   Bonded seals shall have elastomers as specified in Clause 2.0 of this
                                                        Part 3 and be COMPANY approved.

                                        (c)     Guide Shoe

                                                (i)     Guide shoe OD shall be compatible with GP packer and GP extension
                                                        ID.

                                                (ii)    Guide shoe shall have self aligning functionality, and a spring covered by
                                                        sleeve to isolate shoe from well bore fluid. CONTRACTOR does not
                                                        provide a cover for sleeve to isolate shoe from well bore fluid.

                                                (iii)   Guide shoe shall allow for easy entry of wireline tools, coiled tubing
                                                        tools, and tractors at high deviations.

                                                (iv)    See Part 6 - Well Bore Information for guide shoe minimum ID for
                                                        representative well types.


                 5.0    FLUID LOSS CONTROL VALVES (FLCV)

                        5.1   General

                              All completion types will include the use of a mechanical fluid loss control valve.

                              A fluid loss control valve will be used in all completion types to isolate the reservoir from the
                              upper completion and facilitate displacing the casing to completion brines. The device must
                              seal in both directions and pass a pressure and underbalance test. The ability to open and
                              close the valve several times during completion activities is required. Reliable remote
                              actuation (opening) of the valve will be a critical factor for evaluation.

                              Both remote actuated or mechanical only type valves may be required for different
                              applications.




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                        5.2   Technical Requirements

                              5.2.1   General

                                      All equipment shall have a temperature rating, burst I collapse pressure rating, as
                                      identified in Clause 2.0 of this Part 3. Tool functionality shall be maintained at the
                                      low end of the temperature range (e.g., run in hole through mud line) although flow
                                      path sealing is not required.

                                      All equipment shall be capable of being run and set inside the production casing as
                                      identified in Clause 2.0 of this Part 3, unless otherwise specified by COMPANY.

                                      All equipment shall be of the appropriate metallurgy for the service required as given
                                      in Clause 2.0 of this Part 3, unless otherwise specified by COMPANY. All
                                      components to meet requirements of NACE MR-01-7S unless otherwise stated.


                              5.2.2   FLCV

                                      (a)     00 shall have an allowance for an encapsulated line (11 mm x 11 mm) to be
                                              installed around valve.

                                      (b)     00 shall be suitable for performing an OHGP or CHFP, i.e., circulating sand-
                                              laden slurry outside the valve body. Typical slurry conditions shall be to pump
                                              200,000 Ib of a 12 ppa slurry at 30 - 45 bpm.

                                      (c)     10 shall be compatible with flush joint wash pipe, mechanical shifting tool, and
                                              GP logging tool.

                                      (d)     The tensile I compressive rating shall be equal to or greater than rating of
                                              screen base pipe.

                                      (e)     A pup joint (saver sub) shall be installed above and below. The length shall be
                                              specified by COMPANY.

                                      (f)     The valve shall have the capability of mill-out of the ball / flapper as a
                                              contingency if it fails to open.

                                      (g)     The valve shall be suitable for production rates of up to 50,000 barrels per day
                                              (1 pound per thousand barrels sand loading) and injection rates of 60,000
                                              barrels per day (minimal solids). The valve shall not form a choke to the flow
                                              rate. Further details can be found in Appendix - Well Bore Information for
                                              representative well types.

                              5.2.3   Remote Opening Capability

                                      (a)     The FLCV shall have the ability to open by remote actuation with the
                                              completion string in place and tubing hanger landed, without intervention.

                                      (b)     Pressure required to open valve shall be compatible with other pressure
                                              limitations.




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                                        (c)     The FLCV shall be able to be subjected to multiple (greater than 10) pressure
                                                cycles (e.g., packer setting, casing cleaning) without opening, i.e., having a
                                                unique opening pressure, signature, or signal.

                                        (d)     The FLCV shall have the ability to open and close under fluid loss conditions
                                                greater than 20 bpm.

                                        (e)     Mechanism shall be tolerant to debris (e.g., Ceramic 40 I 60 proppant, mud
                                                solids, perforating debris, pipe scale, rust, as well as formation sand and silt),
                                                particularly during hydraulic operation. Tolerant implies that the valve is
                                                capable of operations with a reasonable amount of debris inside and on top of
                                                the ball during both mechanical and hydraulic operations.

                                        (f)     The FLCV shall have an optional ability to lock open (or not) once remotely
                                                actuated.

                              5.2.4     Mechanical Shifting Tools

                                        (a)     A mechanical shifting tool shall have the capability to shift the valve closed by
                                                withdrawal of the wash pipe and open I close during subsequent intervention
                                                prior to remote actuation (open only, close only and open J close functionality
                                                required).

                                        (b)     The tool shall be capable of passing through screen base pipe ID. Further
                                                details can be found in Appendix - Well Bore Information for representative
                                                well types.

                                        (c)     The tool shall not interfere with the packer release mechanism or the gravel
                                                circulation port isolation sleeve mechanism in order to prevent inadvertent
                                                shifting of the sleeve during FLCV activities.

                              5.2.5     Mechanical Override Tools

                                        (a)     A mechanical override tool shall have the capability to shift the valve open and
                                                closed.

                                        (b)     The tool shall have the capability of being conveyed on either coiled tubing or
                                                an electric line tractor with low open I close force in horizontal sections.

                                        (c)     The tool shall be capable of passing through well bore restrictions. Further
                                                details can be found in Appendix - Well Bore Information for representative
                                                well types.

                                        (d)     The tool shall not interfere with the packer release mechanism or the gravel
                                                circulation port isolation sleeve mechanism in order to prevent inadvertent
                                                shifting of the sleeve during FLCVactivities.


                 6.0    ANNULAR FLUID LOSS CONTROL VALVE FOR DHFC COMPLETIONS

                        6.1   General

                              In order to accommodate the DHFC upper completion, an intermediate fluid loss module
                              containing a tubing valve and annulus valve is required. The fluid loss control devices
                              interface with the downhole flow control completion components.



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                        6.2   Technical Requirements

                              6.2.1   General

                                      All equipment shall have a temperature rating, burst / collapse pressure rating, as
                                      identified in Clause 2.0 of this Part 3. Tool functionality shall be maintained at the
                                      low end of the temperature range (e.g., run in hole through mud line) although flow
                                      path sealing is not required.

                                      All equipment shall be capable of being run and set inside the production casing as
                                      identified in Clause 2.0 of this Part 3, unless otherwise specified by COMPANY.

                                      All equipment shall be of the appropriate metallurgy for the service required as given
                                      in Clause 2.0 of this Part 3, unless otherwise specified by COMPANY. All
                                      components to meet requirements of NACE MR-01-75 unless otherwise stated.

                              6.2.2   FLCV

                                      (a)     Same functional requirements as stated in Clause 5.2.2 - FLCV, with the
                                              following exception: Mechanical shifting tool and I or override tool must be
                                              able to run through a concentric restriction. Further details can be found in
                                              Part 6 - Well Bore Infonmation for representative well types.

                              6.2.3   PBR between Fluid Loss Control Valves

                                      The PBR provides the sealing interface for the OHFC dip tube (upper completion)
                                      seal stack.

                                      (a)     10 shall be compatible with OHFC dip tube seal stack. 00.

                                      (b)     The PBR shall accommodate +1- 15 ft stroke length of seals.

                              6.2.4   PBR between Fluid Loss Control Valves

                                      (a)     The tensile / compressive rating shall be compatible with rating of dip tube
                                              pipe.

                                      (b)     A pup joint (saver sub) shall be installed above and below. The length shall be
                                              specified by COMPANY.

                                      (c)     Flow area for each injection stream shall be at least as large as that of the dip
                                              tube. It shall not form a choke to the flow rate. Components shall be designed
                                              to avoid erosion damage for injector rates of 60,000 barrels per day with 0.1
                                              pounds per thousand barrels particles less 50 microns and for production rates
                                              of 50,000 barrels per day with 1 pound per thousand barrels sand loading.

                                      (d)     The PBR shall be able to pass through dog leg severity of 4.5 degrees per 100
                                              ft.

                              6.2.5   Remote Opening Capability

                                      (a)     The annular FLCV shall have the ability to open by remote actuation with the
                                              completion string in place and tubing hanger landed, without intervention.



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                                     (b)     Pressure required to open valve shall be compatible with system pressure
                                             limitations.

                                     (c)     The annular FLCV shall have the ability to open and close under fluid loss
                                             conditions greater than 20 bpm.

                                     (d)     Mechanism shall be tolerant to debris (e.g., Ceramic 40 I 60 proppant, mud
                                             solids, perforating debris, pipe scale, rust, as well as formation sand and silt),
                                             particularly during hydraulic operation. Tolerant implies that the valve is
                                             capable of operations with a reasonable amount of debris inside and on top of
                                             the ball during both mechanical and hydraulic operations.

                                     (e)     The annular FLCV shall have an optional ability to lock open (or closed) once
                                             remotely actuated.

                             6.2.6   Mechanical Shifting Tools

                                     (a)     The tool shall not interfere with the packer release mechanism or the tubing
                                             FLCV mechanism to prevent inadvertent shifting of the tubing FLCV during
                                             annular FLCV functioning.

                             6.2.7   Mechanical Override Tools

                                     (a)     A mechanical override tool shall have the capability to shift the valve open.

                                     (b)     The tool shall have the capability of being conveyed on either coiled tubing or
                                             an electric line tractor with low open / close force in horizontal sections.

                                     (c)     The tool shall be capable of passing through well bore restrictions. Further
                                             details can be found in Part 6 - Well Bore Information for representative well
                                             types.

                                     (d)     The tool shall not interfere with the packer release mechanism to prevent
                                             inadvertent shifting of the tubing FLCV during annular FLCV functioning.

                             6.2.8   Intermediate FLCV Module Dip Tube

                                     (a)     Connections shall be Hunting SLF or equivalent to be approved by COMPANY.

                                     (b)     The tube shall have a no go locator for lower completion PBR seal bore.

                                     (c)     The tube shall have a seal stack and spacers with bonded elastomeric seals to
                                             fit ID of lower completion PBR seal bore.

                                     (d)     The tube shall have a guide shoe with self aligning functionality, and a spring
                                             covered by sleeve to isolate from well bore fluid.


                 7.0    REFERENCES

                        ISO 11960 (API Spec5Cn:          Petroleum and natural gas industries - Steel pipes for use as
                                                         casing or tubing for wells.




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                        ISO 14310 (API Spec 11D1):       Petroleum and natural gas industries - Downhole equipment -
                                                         packers and bridge plugs.

                        NACE MR-01-75:                   Sulfide stress cracking resistant materials for oilfield equipment.

                        API Specification 6A718:         Specification of Nickel Base Alloy 718 (UNS N07718) for Oil and
                                                         Gas Drilling and Prod uction Equipment. 1st Edition March 2004*

                        * - Note In addition to the requirements of API Spec 6A718, COMPANY has a further requirement
                        that the minimum total hot work reduction ratio shall be 4:1 and not 3.75:1 as per Section 4.1.3.1 of
                        AP16A718.


                        BP References:

                        GIS 02-201:        Specification for OCTG Seamless Casing & Tubing (Standard Grades).

                        GIS-02-203:        Specification for OCTG Crossover Connectors.

                        GIS-02-204:        Specification for OCTG Sour Resistant Grade C110 Low Alloy Steel OCTG
                                           Seamless Casing.

                        GIS-02-205:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        GIS-02-206:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        BP-EPT-IAS-01:     Integrity Assurance Specification - For the Procurement of Critical equipment
                                           for Drilling and Completions.

                        For undated references, the latest edition of the normative document referred to applies.


                 8.0    DEFINITIONS AND ABBREVIATIONS

                        For the purposes of this Part 3 - Lower Completions, the following definitions and abbreviations will
                        apply:

                        AISI:             American Iron and Steel Institute
                        API:              American Petroleum Institute
                        BHA:              Bottom Hole Assembly
                        bpm:              Barrels per minute
                        CHFP:             Cased Hole Frac Pack
                        CRA:              Corrosion-Resistant Alloy
                        DHFC:             Downhole Flow Control
                        EDTA:             Ethylenediamine Tetraacetic Acid
                        FLCV:             Fluid Loss Control Valve
                        FMECA:            Failure Mode Effect and Criticality
                        GoM:              Gulf of Mexico
                        GP:               Gravel Pack
                        HT:               High Temperature
                        lAS:              Integrity Assurance Specification
                        ID:               Internal Diameter
                        ISO:              International Organization for Standardization



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                        MB:            Megabyte
                        NACE:          National Association of Corrosion Engineers
                        NAS:           National Aerospace Standard
                        00:           Outside Diameter
                        OEM:          Original Equipment Manufadurer
                        OHGP:         Open Hole Gravel Pack
                        ppa:      Proppant added per US gallon
                        psi:           Pounds Per Square Inch
                        QA:           Quality Assurance
                        QC:           Quality Control
                        QCP:          Quality Control Plan
                        RIH:           Run in Hole
                        SOBM:         Synthetic Oil-Based Mud
                        SOR:          Statement of Requirements
                        TEC:          Twisted Encapsulated Conductor
                        TR-SCSSV:     Tubing Retrieved Surface Controlled Subsurface Safety Valve
                        WBM:          Water-Based Mud
                        WEG:          Wireline Entry Guide




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                                                        Part 4 - Intelligent Wells

                 1.0    INTRODUCTION

                        These are the functional and technical specifications for Intelligent Wells.


                 2.0    GENERAL REQUIREMENTS

                        2.1   Production Casing and Tubing Summary

                              Casing sizes for the typical wells can be found in Part 6 - Well Bore Information for
                              representative well types. Tubing sizes for the individual projects can be found in Appendix 3
                              and/or Appendix 4.


                        2.2   Connections

                              Unless specified otherwise herein, connections shall be a VAM-type premium connection.


                        2.3   Metallurgy

                              All completion component metallurgy shall be an equivalent or superior grade to the tubing
                              unless otherwise specified by COMPANY. All selection of materials shall be subject to
                              COMPANY approval.

                              The producers shall have a minimum grade of ISO 11960 (API 5CT) L80 13Cr, AISI 410 or
                              AISI 420 modified. COMPANY may specify Super 13Cr or 25Cr. If a high strength
                              alternative is required, it shall be Alloy 718 or equivalent. Injectors shall have a minimum
                              grade of 25Cr, with nickel alloy 718 or equivalent as approved by COMPANY. COMPANY
                              may require high strength alternatives to meet project requirements.

                              All components made from L80 13Cr, AISI 410 or AISI 420 modified shall conform to ISO
                              11960 (API 5CT), BP GIS-02-201 and BP GIS-02-203. All Super Duplex stainless steel shall
                              conform to ISO 11960, BP GIS-02-206, and BP GIS-02-204.

                              All components made from Alloy 718 shall conform to API Specification API 6A718.
                              COMPANY has a further requirement that the minimum total hot work reduction ratio shall be
                              4:1 and not 3.75:1, as per Section 4.1.3.1 of API 6A718. All equipment material selection
                              shall be subject to a metallurgy review to ensure acceptability regarding corrosion / erosion
                              performance, material specifications and supplier qualification.

                              All components shall meet the requirements of NACE MR-01-75 unless otherwise stated by
                              COMPANY on WORK ORDER.


                        2.4   Elastomers

                              Examples of production, completion, and intervention fluids that will be seen by the wells
                              throughout field-life are Sodium Chloride / Bromide, Calcium Chloride / Bromide brines,
                              natural gas, condensates, and gravel! frac packing fluids. Recommendations shall be made




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                                for elastomers that are suitable for project conditions. Elastomer recommendations shall be
                                subject to COMPANY approval but suggested elastomers are as follows:

                                                             Typical Elastomer Seals

                              Seal Type                       Elastomer
                              Packer elements                 HNBR, Nitrile, CHEMRAZ, AFLAS, Viton
                              Chevron sets                    HNBR, FKM, Viton, plus PTFE, plus PEEK
                              O-rings, T-seals etc            HNBR, FKM, Viton, plus PEEK back-ups
                              Safety valve                    Non-elastomer

                                Final elastomer specification shall be made by COMPANY on WORK ORDER Compatibility
                                testing shall be required for all production and completion fluids.


                        2.5     Pressure Ratings / Tests

                                The bodies of the completion equipment shall be rated to at least the maximum anticipated
                                well pressures, although a higher rating may be required for individual components, (e.g.,
                                TR-SCSSV control system, hydraulic actuation, absolute pressure components, etc.). The
                                completions will be tested to the maximum anticipated pressures.

                                Pressure ratings and differential pressure requirements for the typical projects can be found
                                on in Appendix - Well Bore Information. In general maximum anticipated pressures are
                                10,000 psi - 20,000 psi.


                        2.6     Temperature Rating

                                Equipment shall be rated for the temperature range 40 degrees Fahrenheit to 275 degrees
                                Fahrenheit with HT range to include 300 degrees Fahrenheit.

                                Material strengths shall be de-rated as appropriate for the temperatures.


                        2.7     Well Profile

                                Wells will range from non-deviated (straight hole) to highly deviated (70-90 degrees). The
                                completion intervals will range from non-deviated sections to highly deviated sections
                                including horizontal for some OHGPs. Average build rate for planned well paths typically will
                                not exceed an average of 4.5 degrees per 100 ft on any well. Dog leg severity at discrete
                                paints may be up to 10.0 degrees per 100 ft. For more details about typical well profiles, see
                                Part 6 - Well Bore Information.


                        2.8     Mud / Fluid System

                                The reservoir section will be drilled with synthetic oil-based mud. The mud will be
                                conditioned to a level between 175 and 325 US mesh using shaker screens prior to running
                                casing. The sand control screens will be run in clear completion brines consisting of Calcium
                                Bromide (CaBr2), Calcium Chloride (CaCI 2), and f or Zinc Bromide (ZnBr).

                        2.9     Intervention Fluids and Treatment Chemicals




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                             It is anticipated that the following fluids may be used for well intervention purposes and for
                             treatment of produced and injected fluids over the life of the well. The list is not exhaustive
                             but covers the majority of fluids that are likely to be used. Detailed fluid selection will be
                             specified in Part 6 - Well Bore Information.

                              2.9.1    Hydrochloric Acid (HCI): May be used for mud cake removal during well clean-up and
                                       for CaC0 3 scale removal. It is anticipated that HCI acid concentrations up to 15%
                                       may be used.

                              2.9.2    Scale Dissolvers / EDTA: May be used for mud cake removal during well clean-up
                                       and for removal of both BaS04 and CaC0 3 scales.

                              2.9.3    Mutual Solvents: May be pumped as part of chemical stimulation or scale inhibition
                                       treatments.

                              2.9.4    Surfactants: May be pumped as part of chemical stimulation or scale inhibition
                                       treatments.

                              2.9.5    Organic Solvents: May be used for stimulation treatments.

                              2.9.6    Scale Inhibitors: May be used to prevent both BaS04 and CaC0 3 scales. Scale
                                       inhibitors will be pumped in the tubing via the chemical injection mandrel above the
                                       production packer in producers. Scale inhibitors may also be required to be pumped
                                       into the formation in squeeze treatments.

                              2.9.7    Methanol: May be used for hydrate removal in the upper completion and the
                                       christmas tree.

                              2.9.8    Glycol: May be used for hydrate inhibition.

                              2.9.9    Relative Permeability Modifiers: May be used for water shut-off treatments.

                              2.9.10 Water Shut-off Gels: May be pumped into the formation as water shut-off treatments.

                              2.9.11   Oxygen Scavengers: May be used in injected seawater during steady state water
                                       injection and during initial injectivity tests.

                              2.9.12 Corrosion Inhibitor: May be used in the injected produced water.

                              2.9.13 Biocide: May be used in the injected water.

                              2.9.14 Xylene: May be used for asphaltene remediation.


                        2.10 Testing and Qualification

                             Testing and qualification of equipment shall be performed in accordance with the standards
                             (API, ISO etc.) that have been identified herein. Regardless as to whether or not a standard
                             has been identified for the equipment, CONTRACTOR shall test and qualify all equipment in
                             accordance with documented plans and procedures (see Clause 2.11 - Technical Integrity
                             Assurance). These tests shall include analysis for all installation, tie-back, production load
                             cases, contingency tools, and interventions.       Welding, mechanical testing, and non-
                             destructive testing shall be performed in accordance with recognized COMPANY and
                             international standards.




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                               Additional testing and qualification may be required for non-standard (new or modified)
                               equipment. Testing programs and procedures are subject to review and approval by
                               COMPANY. CONTRACTOR shall perform Failure Mode Effect and Criticality Assessment
                               (FMECA) for any downhole equipment that is of a new or modified design. COMPANY shall
                               be given the option of taking part in FMECA programs.

                               All design assumptions and calculations shall be made available for audit or verification. All
                               proposed equipment may be subjected to a COMPANY specified design review process
                               (e.g., Detailed Design Review).

                               Gravel pack packers, when used as production packers, shall be qualified in accordance with
                               API Specification 11 D1 / ISO 14310 and to a design validation grade V3 for oil service and
                               VO for gas service. (CONTRACTOR equipment meets ISO 14310 quality grade Q2.) The
                               API monogram shall be required.


                        2.11   Technical Integrity Assurance

                               Technical integrity assurance requirements inclusive of quality assurance, quality control, and
                               design verification requirements are given in the following documents:

                               •        BP-EPT-IAS-01 :         Integrity Assurance Specification (lAS) for the Procurement
                                                                of Critical equipment for Drilling & Completions (excluding
                                                                Tubular Products).
                               •        BP-EPT-IAS-02:          Integrity Assurance Specification (lAS) for the Procurement
                                                                of Critical equipment for Drilling & Completions (excluding
                                                                Tubular Products).
                               •        BP-DC-EIA-DRP-01 :      Design Review Process for Drilling, Completion and Subsea
                                                                Equipment.

                               In cases where a BP Global QCP exists, this shall be used for critical equipment.


                        2.12 Marking and Traceability

                               Where traceability is a requirement for compliance with the respective API or other standard,
                               CONTRACTOR shall control and record the unique identification of equipment. The
                               components shall be marked as follows:

                               2.12.1    Supplier's name.

                               2.12.2 COMPANY Purchase Order number.

                               2.12.3 Supplier part nu mber.

                               2.12.4 Assembly number.

                               2.12.5 Serial number.

                               2.12.6 Size and rated working pressure.

                               2.12.7 Date of manufacture.

                               2.12.8 API Monogram (as appropriate).




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                        2.13 Storage Requirements

                             CONTRACTOR is responsible for the storage and protection of all goods and materials being
                             supplied. Goods and materials shall be adequately protected against corrosion, handling,
                             and transportation damage through the use of suitable protection and measures which shall
                             include, but not be limited to, the following:

                             2.13.1   All non-metallic completion items with the exception of fully assembled modules shall
                                      be stored in a temperature-controlled atmosphere to prevent deterioration.

                             2.13.2 Elastomers, including packers and seal elements, shall be stored inside an
                                    environmentally controlled atmosphere in closed lightproof packets (complete with
                                    cure date and expiration date details) and protected against mechanical damage.

                             2.13.3 All metallic completion equipment shall be handled, transported, and stored in
                                    accordance with BP GIS-02-207, Guidance Document for the Handling,
                                    Transportation and Storage of Casing & Tubing (OCTG) or CONTRACTOR's
                                    procedures whichever is the more stringent. Although BP GIS-02-207 is for OCTG,
                                    the same requirements shall be applied to completion equipment as appropriate.

                             2.13.4 All CRA materials (see BP GIS-02-207, Section 3 for definition of CRA) shall be
                                    stored away from harmful environments such as chloride-laden atmosphere (salt air).

                             2.13.5 All completion items including all fully assembled modules shall be properly stored
                                    (vertical and I or horizontal) under cover to prevent corrosion, contamination, and
                                    damage. Ports and bores shall be protected to prevent ingress of debriS, insects
                                    (and their remains) and lor animals (and their remains).

                             2.13.6 All completion items including fully assembled modules shall have the appropriate
                                    preservation I protection applied as advised by the original equipment manufacturer.

                             2.13.7 All temporary corrosion protection fluids and greases shall be of a low sulfur type,
                                    compatible with the intended hydrocarbon service and non-damaging to the
                                    completion.

                             2.13.8 Thread protectors shall be used for all threaded connections (composite plastic,
                                    breathable type for premium connections, steel style for API type connections).

                             2.13.9 CONTRACTOR shall ensure that all sealing surfaces shall be adequately protected
                                    against corrosion, impact, and abrasion damage.

                             2.13.10 Shear pins shall be closely controlled to avoid the risk of improper use in assembly
                                     and preparation. Procedures shall be in place to ensure segregation of new and
                                     used shear stock and other consumable items.

                             2.13.11 All equipment exposed to salt I brine atmosphere I fluids and returned to
                                     CONTRACTOR for storage shall be rinsed in potable water to ensure that no salt
                                     deposit remains and that the residual chloride ion concentration of the waste water is
                                     negligible «100 milligrams per liter or the level of atmospheric chloride
                                     concentration, whichever is greater) after the equipment has been allowed to soak
                                     for 30 minutes.


                 3.0    DHFC WELLS




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                        3.1   General

                              The OHFC BHA will consist of filter sub, splice sub, feed-through packer, triple gauges,
                              DHFC unshrouded valve, DHFC shrouded valve, shroud, internal pup joints with landing
                              nipples, plug or junk baskets, perforated pups, and quick connects. Control lines and
                              components will consist of %" TEC control lines, %" hydraulic control lines, encapsulation,
                              cross-coupling and special protector clamps, and control line fittings.

                              All equipment shall have a temperature rating, burst / collapse pressure rating, as identified in
                              Clause 2.0 of this Part 4. Tool functionality shall be maintained at the low end of the
                              temperature range (e.g., run in hole through mud line) although flow path sealing is not
                              required.

                              All equipment shall be capable of being run and set inside the production casing as identified
                              in Clause 2.0 of this Part 4, unless otherwise specified by COMPANY.

                              All equipment shall be of the appropriate metallurgy for the service required as given in
                              Clause 2.0 of this Part 4, unless otherwise specified by COMPANY. All components to meet
                              requirements of NACE MR-01-75 unless otherwise stated.


                        3.2   Permanent Production Packer for OHFC Wells

                              3.2.1     General

                                        Production packers and associated equipment shall include, but not be limited to:

                                        •       Permanent packers.
                                        •       Packer recovery tools.
                                        •       Spares inventory for equipment and tools.
                                        •       Intervention less packer setting devices.
                                        •       Retrievable or removable packers.

                              3.2.2     Technical Requirements

                                        The feed-through production packer is intended to provide the primary tubing to
                                        casing barrier.

                                        (a)     OD shall be suitable to run through and set in specified casing.

                                        (b)     10 shall be at least as large as full bore tubing.

                                        (c)     Packer shall have an anti-pre-set mechanism.

                                        (d)     The slips shall be bi-directional slips with as maximum circumferential contact
                                                as practically possible.

                                        (e)     It shall be possible to circulate through the packer while running the
                                                completion.

                                        (f)     The packer shall be capable of being set in a hole angle of up to 85 degrees.

                                        (g)     The packer shall have premium tubing connections as detailed in Clause 2.0 of
                                                this Part 4, unless otherwise specified by COMPANY.



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                                      (h)     Metallurgy shall be equivalent or better than tubing.

                                      (i)     Elastomers shall be as detailed in Clause 2.0 of this Part 4, unless otherwise
                                              specified by COMPANY.

                                      (j)     Temperature range shall be as detailed in Clause 2.0 of this Part 4, unless
                                              otherwise specified by COMPANY.

                                      (k)     Packer shall allow for a minimum of two thread re-cuts.

                                      (I)     Packer shall be removable (i.e., primary removal shall be cut-to-release).

                                      (m)     Qualified packer envelopes shall be in accordance with ISO 14310 Validation
                                              Grade with VO for gas producers or V3 for oil producers, unless otherwise
                                              specified by COMPANY. (CONTRACTOR equipment meets ISO 14310 quality
                                              grade Q2.)

                                      (n)     The equipment shall conform to ISO 14310 with Quality Grade of Q1.
                                              (CONTRACTOR equipment meets ISO 14310 quality grade Q2.)

                                      (0)     The equipment shall conform to NACE MR-01-75.

                                      (p)     HydrostatiC is preferred method of packer setting, if available.

                                      (q)     There shall be no relative body movement during setting.

                                      (r)     Packer shall have feed-through for six lines.

                                      (s)     There shall be a nipple profile between the packer and the flow-control valves
                                              for secondary packer setting assistance.


                        3.3   DHFC Valves

                              3.3.1   General

                                      Downhole flow control valves shall include, but not be limited to:

                                      (a)     Flow control valve for upper zone.

                                      (b)     Flow control valve for lower zone with shroud.

                                      (c)     Plug to set beneath lower valve.

                                      Each valve must be capable of being functioned hydraulically independent of the
                                      other valve with three hydraulic lines. Four lines may be specified as an option.

                                      In addition to normal operating requirements, the valves will be used during the
                                      completion operations, i.e., to set the packer and test the tubing.

                              3.3.2   Technical Requirements

                                      (a)     Upper Valve




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                                             (i)     Valve shall be sized to fit inside and function in casing sizes specified in
                                                     Appendix 3 and/or Appendix 4.

                                             (ii)    For choking systems, the valve shall have a fully open position, a fully
                                                     closed position and at least six intermediate positions. COMPANY will
                                                     customize trim at time of WORK ORDER.

                                             (iii)   Valve shall be suitable for 45,000 barrels per day of production or
                                                     injection in the fully open position.

                                             (iv)    For injection service, upper valve shall be equipped with a tungsten-
                                                     carbide deflector to prevent casing erosion.

                                             (v)     Control line fluid shall be water-based.

                                             (vi)    Valve shall be able to function with 1,500 psi differential pressure. This
                                                     includes repeated opening from a closed position with 1,500 psi
                                                     differential in either direction without seal degradation.

                                             (vii)   The valve shall have a fully closed position against which the upper
                                                     completion can be pressure tested to 5,000 psi during the initial
                                                     installation operations.

                                             (viii) The valve minimum ID shall allow for normal retrieval of shroud plug.

                                             (ix)    Collapse, burst, tensile, and compressive ratings shall be equal to or
                                                     greater than those of the adjacent tubing.

                                             (x)     Valve shall be able to go to fully closed on one hydraulic pressure cycle.

                                             (xi)    Valve shall be suitable for dog leg severity of up to 6.0 degrees per 100
                                                     feet.

                                     (b)     Lower Valve

                                             (i)     Maximum OD shall be 7.5" to allow sufficient flow by area to upper zone.

                                             (ii)    For choking systems, the valve shall have a fully open position, a fully
                                                     closed position and at least six intermediate positions. COMPANY will
                                                     customize trim at time of WORK ORDER.

                                             (iii)   Valve shall be suitable for 45,000 barrels per day of production or
                                                     injection in the fully open position.

                                             (iv)    Control line fluid shall be water-based.

                                             (v)     Valve shall be able to function with 1,500 psi differential pressure. This
                                                     includes repeated opening from a closed position with 1,500 psi
                                                     differential in either direction without seal degradation.

                                             (vi)    The valve shall have a fully closed position against which the upper
                                                     completion can be pressure tested to 5,000 psi during the initial
                                                     installation operations.




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                                              (vii)   For injection the design shall ensure that the water flow does not risk
                                                      compromising the integrity of the shroud by a hydro jetting effect.

                                              (viii) The valve minimum ID shall be suitable for specified production and
                                                     injection rates.

                                              (ix)    The valve minimum ID shall allow for normal retrieval of plug.

                                              (x)     Collapse, burst, tensile, and compressive ratings shall be equal to or
                                                      greater than those of the adjacent tubing.

                                              (xi)    Maximum valve closure time from any position 10 minutes to minimize
                                                      cross flow.

                                              (xii)   Valve shall be suitable for dog leg severity of up to 6.0 degrees per 100
                                                      feet


                        3.4   Flow Control Systems and Other Subsidiary Items

                              3.4.1   General

                                      Flow Control systems and subsidiary items shall include, but not be limited to:

                                      •       Landing nipples.

                                      •       Wireline entry guides (WEGs).

                                      •       Crossovers.

                              3.4.2   Technical Requirements

                                      (a)     Landing Nipples

                                              (i)     Landing nipples shall conform to ISO 16070. ISO 16070 Quality Grade
                                                      Q1 and Validation Grade V2 shall apply.

                                              (ii)    Material shall comply with API and NACE MR-01-75.

                                              (iii)   A no go shoulder shall be required only for locating and setting flow
                                                      control devices and shall not be a load bearing point; therefore, no go
                                                      sizing shall be minimized.

                                              (iv)    The landing nipple shall have a standard pressure rating as determined
                                                      by the pressure rating of the tubing connection. Further details can be
                                                      found in Appendix 3 and/or Appendix 4.

                                              (v)     Ideally the nipple profile shall be designed in such a way as to allow for
                                                      Original Equipment Manufacturer (OEM) locks to be utilized where
                                                      necessary.

                                              (vi)    Landing nipples shall have premium tubing connections as detailed in
                                                      Clause 2.0 ofthis Part 4, unless otherwise specified by COMPANY.

                                      (b)     Locks



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                                             (i)     The lock shall be retrievable at all times during the life of the well.

                                             (ii)    The lock shall be designed so that it may only be located and set in a
                                                     proper nipple profile.

                                             (iii)   The lock shall have a standard pressure rating as determined by the
                                                     pressure rating of the tubing connection. Further details can be found in
                                                     Appendix 3 and/or Appendix 4.

                                             (iv)    Locks shall conform to ISO 16070, Quality Grade Q1 and Validation
                                                     Grade V2 shall apply.

                                             (v)     The lock shall have a simple and rugged construction minimizing moving
                                                     parts e.g., expander mandrel and lock dogs.

                                             (vi)    The lock shall have no springs behind lock dogs.

                                             (vii)   The lock shall be designed to withstand sand and small debris.

                                             (viii) The locks shall have large area, pressure-bearing locking dogs for
                                                    greater pressure capabilities from above and below. Lock dogs shall be
                                                    the pressure I load bearing point and not the no go.

                                             (ix)    Lock dogs shall be designed to lift the no go off the locating point when
                                                     in the set position. This will eliminate no go swaging.

                                             (x)     The lock shall have a positive locking mechanism that prevents vibration
                                                     affects from un-seating the locks.

                                             (xi)    The lock shall have an external fishing neck for easy retrieval.

                                             (xii)   The lock shall have a smooth bore inside that inhibits corrosion or
                                                     sticking by foreign elements.

                                             (xiii) The lock shall have a positive locking indicator in the running tool to
                                                    confirm that the lock is set as designed.

                                             (xiv) The lock shall be compatible with standard wireline equipment, coiled
                                                   tubing equipment, and electric line tractors.

                                             (xv)    A junk basket shall be required that has an ID that will fit inside the
                                                     tubing so that debris will not fall down outside of basket.

                                     (c)     Crossovers

                                             (i)     The length shall allow for at least two re-cuts of each thread.

                                             (ii)    The length will allow a minimum of 5-7/8" space after re-cuts, plus 2"
                                                     clearance plus marking area.

                                             (iii)   The maximum total length shall be 24".

                                             (iv)    Crossovers shall be manufactured in accordance with ISO 11960 (API
                                                     SCT) and BP GIS-02-203.




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                                              (v)   Crossovers shall have premium tubing connections as detailed in Clause
                                                    2.0 ofthis Part 4, unless otherwise specified by COMPANY.


                        3.5   Quick Connect Sub

                              3.5.1   General

                                      The quick connect sub is to negate the need for rotation of the DHFC assembly
                                      during the make up to the dip tube.

                              3.5.2   Technical Requirements

                                      (a)     The tensile I compressive rating shall be greater than tubing thread.

                                      (b)     The quick connect sub shall have an anti rotational lock capable of having
                                              limited (greater than 5,000 ft-Ibs) torque put through it.

                                      (c)     The quick connect sub shall be equipped with a premium seal stack good for
                                              production or injection loads (no o-rings).

                                      (d)     The quick connect sub shall be externally testable.


                        3.6   Downhole Gauges for DHFC Wells

                              3.6.1   General

                                      Downhole gauges and associated equipment shall include, but not be limited to:

                                      •       Downhole Pressure I Temperature gauge(s).
                                      •       Cable head.
                                      •       Gauge mandrel.
                                      •       Cable.
                                      •       Control line.
                                      •       Card for the Subsea Control Module.

                                      Continuous data read-outs shall be required on the rig throughout the installation
                                      process. Continuous data collection shall be required after the well has been
                                      completed.

                                      The gauge connectors at the hanger, tree, tubing hanger running tool, emergency
                                      disconnect package, etc., will be supplied by others. The gauge mandrel shall not
                                      form a choke to flow, i.e., its internal bore shall be at least as large as that of the
                                      tubing.

                              3.6.2   Technical Requirements

                                      (a)     Gauge Mandrels

                                              (i)   Gauge mandrel shall be designed to the same tenSion, compression,
                                                    burst and collapse ratings equal to or greater than those of the adjacent
                                                    tubing.




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                                              (ii)    Metallurgy shall be equivalent or better than tubing.

                                              (iii)   10 shall be at least as large as full bore tubing.

                                              (iv)    Gauge mandrel shall have a one-piece body.

                                              (v)     Gauge mandrel shall have premium tubing connections as detailed in
                                                      Clause 2.0 of this Part 4, unless otherwise specified by COMPANY.

                                              (vi)    Three gauges shall be provided to give pressure and temperature
                                                      readings in the following locations:

                                                            Inside tubing above upper valve (ported inwards - capable of
                                                            reading tubing pressure and temperature above DHFC valves).

                                                            In the tubing-by-casing annulus at upper valve (Ported outwards -
                                                            capable of reading pressure and temperature from upper zone
                                                            when valve is closed).

                                                            Inside tubing below lower valve (Fitted with snorkel tube and
                                                            ported to below the lower DHFC valve - capable of reading
                                                            pressure and temperature from lower zone when valve is closed).

                                              (vii)   Gauge mandrel shall be below drift in casing including allowance for
                                                      passage ofthe hydraulic lines for DHFC valves.

                                      (b)     Pressure and Temperature Gauges

                                              (i)     These requirements shall be met:

                                              Pressure and Temperature Gauge Specifications

                        Type          Range                     Max Drift               Accuracy              Resolution
                        Pressure      1,000 - 15,000 psi        3 psi per yr            +/- 43 psi            0.01 psi
                        Temperature   40 - 275 degrees          +/- 0.09 degrees        +/- 1 .8 degrees      0.002 degrees
                                      Fahrenheit                Fahrenheit per year     Fahrenheit            Fahrenheit

                                              (ii)    Sampling rate shall be one date point per second.

                                              (iii)   Quartz gauges shall be used.

                                              (iv)    Gauges shall be protected from shocks by design, and the efficiency of
                                                      protection shall be tested and documented. A shock tolerance of 11 g
                                                      shall be required.

                                              (v)     Gauges shall be tested to confirm resistance to vibration. Vibration
                                                      resistance test procedures and results shall be fully documented.

                                              (vi)    Gauges shall be isolated from well-bore fluids and shall be unaffected by
                                                      pressure breathing.

                                              (vii)   Isolation seals shall be metal-to-metal and back-up elastomeric seals
                                                      shall be of a material specified in Clause 2.0 of this Part 4. Final seal
                                                      choice shall be made by COMPANY on WORK ORDER.




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                                              (viii)   Cable head shall be externally testable.

                                              (ix)     Cable head shall be of thread and ferrule type.     Welded cable head
                                                       connections shall not be accepted.

                                              (x)      One gauge shall be ported into tubing, one gauge shall be ported
                                                       outward to the annulus, and one gauge shall be fitted with a snorkel tube
                                                       and ported to the lower DHFC valve shroud.

                                      (c)     SCM Card

                                              The card shall interface successfully with the subsea production system.

                                      (d)     Cable and Accessories

                                              (i)      Cable shall have an Incoloy 825 sheath.

                                              (ii)     Cable shall be encapsulated with Santoprene or Halor equivalent
                                                       Polymide thermoplastic, unless otherwise specified by COMPANY.
                                                       Further details can be found in Part 6 - Well Bore Information for
                                                       representative well types.

                                              (iii)    Size and flat pack configuration shall be indicated on specified in
                                                       Appendix 3 and/or Appendix 4.       Lengths shall be specified by
                                                       COMPANY on WORK ORDER.


                        3.7   Control Lines and Accessories

                              3.7.1   General

                                      The gauge lines and other control lines within the completion may be flat packed
                                      together if this is deemed to be the most efficient for installation by COMPANY.

                              3.7.2   Technical Requirements

                                      (a)     General

                                              (i)      All lines shall be seamless or welded and floating plug drawn bright-
                                                       annealed or welded lines in Incoloy 825. COMPANY shall specify
                                                       requirement on WORK ORDER.

                                              (ii)     CONTRACTOR shall supply Incoloy 825 twin ferrule compression fittings
                                                       suitable for use at working pressure. Further details can be found in
                                                       Appendix - Well Bore Information for representative well types.

                                              (iii)    Fittings shall either be Autoclave brand or be another brand approved by
                                                       COMPANY.

                                              (iv)     The lines shall be encapsulated with thermoplastic material, which has a
                                                       minimum thickness of 2 mm (Santoprene or Halor equivalent Polymide
                                                       thermoplastic). Further details can be found in Appendix 3 and/or
                                                       Appendix 4 for representative well types.

                                              (v)      Fluid cleanliness shall be to NAS-1638v Class 6 or cleaner.




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                                              (vi)    Temperature rating shall be 40 to 275 degrees Fahrenheit.

                                      (b)     Electrical Line

                                              (i)     Working pressure as specified in Appendix - Well Bore Information with
                                                      adequate factors of safety to be provided.

                                              (ii)    Hardness of line shall meet or exceed NACE MR-01-75 specification for
                                                      sour service, as appropriate.

                                              (iii)   Cable shall be copper mono-conductor (compatible with gauges).

                                              (iv)    Cable shall be suitably armored for deployment conditions.

                                      (c)     OHFC Control Lines

                                              (i)     Working pressure as specified in Part 6 - Well Bore Information with
                                                      adequate factors of safety to be provided.

                                              (ii)    Hardness of line shall meet or exceed NACE MR-01-75 specification for
                                                      sour service, as appropriate.

                                      (d)     Splice Subs

                                              (i)     Splice sub shall be quoted with and without an engineered
                                                      communication between the three lines to allow for intervention valve
                                                      movement.      This communication pathway shall not hinder normal
                                                      operation of the OHFC valves.

                                              (ii)    Splice sub shall provide ease of module make up and installation
                                                      allowing for assemblies to be pre-made-up and tested onshore to
                                                      minimize critical path rig time during installation.

                                              (iii)   Collapse, burst, tenSile, and compressive ratings shall be equal to or
                                                      greater than those of the adjacent tubing.

                                              (iv)    Metallurgy shall be equivalent or better than tubing.

                                              (v)     10 shall be at least as large as adjacent tubing.

                                              (vi)    Splice sub shall be below drift of casing.

                                              (vii)   Splice sub shall meet the requirements of NACE MR-01-75 specification
                                                      for sour service, as appropriate.


                        3.8   Line Protectors

                              3.8.1   General

                                      Protectors shall include cross coupling protectors and specialty protectors (e.g., TR-
                                      SCSSVand other BHAs).




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                                      Details on the number of control lines and flat pack configurations shall be specified
                                      by COMPANY on WORK ORDER. Appendix 3 and/or Appendix 4 contains
                                      recommended configurations.

                                      The protectors shall protect and support the various lines along the tubing at their
                                      most vulnerable positions. At the tubing couplings, it is necessary to clamp one
                                      cross coupling protector. At the completion components, it is recommended to use
                                      one protector at each end, which do not cover the lines but give a good curve and
                                      alignment to the lines.

                                      Protectors shall protect the lines from potential damage caused by any part of the
                                      well completion process, especially caused by the dynamic motion of the tubing in
                                      the well bore. They shall support the lines with no slippage.

                                      The protectors shall align the tubing in such a way that the protectors do not impede
                                      the completion, running smoothly into the production casing. In addition, they shall
                                      be retrievable and reusable if the completion is pulled.

                              3.8.2   Technical Requirements

                                      (a)     Lines shall be supported with no slippage.

                                      (b)     Line protectors shall have a flat pack grip capacity equivalent to at least 90 feet
                                              of flat pack weight.

                                      (c)     Line protectors shall have chamfered edges to prevent hang up while running
                                              in or out of the well.


                 4.0    REFERENCES

                        ISO 11960 (API Spec 5CT):         Petroleum and natural gas industries - Steel pipes for use as
                                                          casing or tubing for wells.

                        ISO 14310 (API Spec 1101):        Petroleum and natural gas industries - Downhole equipment -
                                                          packers and bridge plugs.

                        NACE MR-Oi-75:                    Sulfide stress cracking resistant materials for oilfield equipment.

                        API Specification 6A718:          Specification of Nickel Base Alloy 718 (UNS N07718) for Oil and
                                                          Gas Drilling and Prod uction Equipment. 1st Edition March 2004*

                        * - Note In addition to the requirements of API Spec 6A7i8, COMPANY has a further requirement
                        that the minimum total hot work reduction ratio shall be 4:1 and not 3.75:1 as per Section 4.1.3.1 of
                        AP16A718.


                        BP References:

                        GIS 02-201:          Specification for OCTG Seamless Casing & Tubing (Standard Grades).

                        GIS-02-203:          Specification for OCTG Crossover Connectors.

                        GIS-02-204:          Specification for OCTG Sour Resistant Grade C110 Low Alloy Steel OCTG
                                             Seamless Casing.




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                        GIS-02-205:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        GIS-02-206:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        BP-EPT-IAS-01:     Integrity Assurance Specification - For the Procurement of Critical equipment
                                           for Drilling and Completions.

                        For undated references, the latest edition of the normative document referred to applies.

                 5.0    DEFINITIONS AND ABBREVIATIONS

                        For the purposes of this Part 4 - Intelligent Wells, the following definitions and abbreviations will
                        apply:

                        AISI:             American Iron and Steel Institute
                        API:              American Petroleum Institute
                        BHA:              Bottom Hole Assembly
                        bpm:              Barrels per minute
                        CHFP:             Cased Hole Frac Pack
                        CRA:              Corrosion-Resistant Alloy
                        DHFC:             Downhole Flow Control
                        EDTA:             Ethylenediamine Tetraacetic Acid
                        FLCV:             Fluid Loss Control Valve
                        FMECA:            Failure Mode Effect and Criticality
                        GoM:              Gulf of Mexico
                        GP:               Gravel Pack
                        HT:               High Temperature
                        lAS:              Integrity Assurance Specification
                        10:               Internal Diameter
                        ISO:              International Organization for Standardization
                        NACE:             National Association of Corrosion Engineers
                        NAS:              National Aerospace Standard
                        00:               Outside Diameter
                        OEM:              Original Equipment Manufacturer
                        OHGP:             Open Hole Gravel Pack
                        psi:              Pounds Per Square Inch
                        QA:               Quality Assurance
                        QC:               Quality Control
                        QCP:              Quality Control Plan
                        RIH:              Run in Hole
                        SOBM:             Synthetic Oil-Based Mud
                        SOR:              Statement of Requirements
                        TEC:              Twisted Encapsulated Conductor
                        TR-SCSSV:         Tubing Retrieved Surface Controlled Subsurface Safety Valve
                        WBM:              Water-Based Mud
                        WEG:              Wireline Entry Guide




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                                                     Part 5 - Upper Completions

                 1.0    INTRODUCTION

                        These are the functional and technical specifications for Upper Completions.


                 2.0    GENERAL REQUIREMENTS

                        2.1   Production Casing and Tubing Summary

                              Casing sizes for the typical wells can be found in Part 6 - Well Bore Information for
                              representative well types. Tubing sizes for the individual projects can be found in Appendix 3
                              and/or Appendix 4.


                        2.2   Connections

                              Unless specified otherwise herein, connections shall be a VAM-type premium connection.


                        2.3   Metallurgy

                              All completion component metallurgy shall be an equivalent or superior grade to the tubing
                              unless otherwise specified by COMPANY. All selection of materials shall be subject to
                              COMPANY approval.

                              The producers shall have a minimum grade of ISO 11960 (API 5CT) L80 13Cr, AISI 410 or
                              AISI 420 modified. COMPANY may specify Super 13Cr or 25Cr. If a high strength
                              alternative is required, it shall be Alloy 718 or equivalent. Injectors shall have a minimum
                              grade of 25Cr, with nickel alloy 718 or equivalent as approved by COMPANY. COMPANY
                              may require high strength alternatives to meet project requirements.

                              All components made from LBO 13Cr, AISI 410 or AISI 420 modified shall conform to ISO
                              11960 (API5CT), BP GIS-02-201 and BP GIS-02-203. All Super Duplex stainless steel shall
                              conform to ISO 11960, BP GIS-02-206, and BP GIS-02-204.

                              All components made from Alloy 718 shall conform to API Specification API 6A718.
                              COMPANY has a further requirement that the minimum total hot work reduction ratio shall be
                              4:1 and not 3.75:1, as per Section 4.1.3.1 of API 6A718. All equipment material selection
                              shall be subject to a metallurgy review to ensure acceptability regarding corrosion I erosion
                              performance, material specifications and supplier qualification.

                              All components shall meet the requirements of NACE MR-01-75 unless otherwise stated by
                              COMPANY on WORK ORDER.


                        2.4   Elastomers

                              Examples of production, completion, and intervention fluids that will be seen by the wells
                              throughout field-life are Sodium Chloride / Bromide, Calcium Chloride / Bromide brines,
                              natural gas, condensates, and gravel I frac packing fluids. Recommendations shall be made




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                                for elastomers that are suitable for project conditions. Elastomer recommendations shall be
                                subject to COMPANY approval but suggested elastomers are as follows:

                                                             Typical Elastomer Seals

                              Seal Type                       Elastomer
                              Packer elements                 HNBR, Nitrile, CHEMRAZ, AFLAS, Viton
                              Chevron sets                    HNBR, FKM, Viton, plus PTFE, plus PEEK
                              O-rings, T-seals etc            HNBR, FKM, Viton, plus PEEK back-ups
                              Safety valve                    Non-elastomer

                                Final elastomer specification shall be made by COMPANY on WORK ORDER. Compatibility
                                testing shall be required for all production and completion fluids.


                        2.5     Pressure Ratings / Tests

                                The bodies of the completion equipment shall be rated to at least the maximum anticipated
                                well pressures, although a higher rating may be required for individual components, (e.g.,
                                TR-SCSSV control system, hydraulic actuation, absolute pressure components, etc.). The
                                completions will be tested to the maximum anticipated pressures.

                                Pressure ratings and differential pressure requirements for the typical projects can be found
                                in Appendix - Well Bore Information. In general maximum anticipated pressures are 10,000
                                psi - 20,000 psi.


                        2.6     Temperature Rating

                                Equipment shall be rated for the temperature range 40 degrees Fahrenheit to 275 degrees
                                Fahrenheit with HT range to include 300 degrees Fahrenheit.

                                Material strengths shall be de-rated as appropriate for the temperatures.


                        2.7     Well Profile

                                Wells will range from non-deviated (straight hole) to highly deviated (70-90 degrees). The
                                completion intervals will range from non-deviated sections to highly deviated sections
                                including horizontal for some OHGPs. Average build rate for planned well paths typically will
                                not exceed an average of 4.5 degrees per 100 ft on any well. Dog leg severity at discrete
                                points may be up to 10.0 degrees per 100 ft. For more details about typical well profiles, see
                                Part 6 - Well Bore Information.


                        2.8     Mud I Fluid System

                                The reservoir section will be drilled with synthetic oil-based mud. The mud will be
                                conditioned to a level between 175 and 325 US mesh using shaker screens prior to running
                                casing. The sand control screens will be run in clear completion brines consisting of Calcium
                                Bromide (CaBr2), Calcium Chloride (CaCb), and lor Zinc Bromide (ZnBr).


                        2.9     Intervention Fluids and Treatment Chemicals




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                             It is anticipated that the following fluids may be used for well intervention purposes and for
                             treatment of produced and injected fluids over the life of the well. The list is not exhaustive
                             but covers the majority of fluids that are likely to be used. Detailed fluid selection will be
                             specified in Part 6 - Well Bore Information.

                              2.9.1    Hydrochloric Acid (HCI): May be used for mud cake removal during well clean-up and
                                       for CaC0 3 scale removal. It is anticipated that HCI acid concentrations up to 15%
                                       may be used.

                              2.9.2    Scale Dissolvers I EDTA: May be used for mud cake removal during well clean-up
                                       and for removal of both BaS04 and CaC0 3 scales.

                              2.9.3    Mutual Solvents: May be pumped as part of chemical stimulation or scale inhibition
                                       treatments.

                              2.9.4    Surfactants: May be pumped as part of chemical stimulation or scale inhibition
                                       treatments.

                              2.9.5    Organic Solvents: May be used for stimulation treatments.

                              2.9.6    Scale Inhibitors: May be used to prevent both BaS04 and CaC0 3 scales. Scale
                                       inhibitors will be pumped in the tubing via the chemical injection mandrel above the
                                       production packer in producers. Scale inhibitors may also be required to be pumped
                                       into the formation in squeeze treatments.

                              2.9.7    Methanol: May be used for hydrate removal in the upper completion and the
                                       christmas tree.

                              2.9.8    Glycol: May be used for hydrate inhibition.

                              2.9.9    Relative Permeability Modifiers: May be used for water shut-off treatments.

                              2.9.10 Water Shut-off Gels: May be pumped into the formation as water shut-off treatments.

                              2.9.11   Oxygen Scavengers: May be used in injected seawater during steady state water
                                       injection and during initial injectivity tests.

                              2.9.12 Corrosion Inhibitor: May be used in the injected produced water.

                              2.9.13 Biocide: May be used in the injected water.

                              2.9.14 Xylene: May be used for asphaltene remediation.


                        2.10 Testing and Qualification

                             Testing and qualification of equipment shall be performed in accordance with the standards
                             (API, ISO etc.) that have been identified herein. Regardless as to whether or not a standard
                             has been identified for the equipment, CONTRACTOR shall test and qualify all equipment in
                             accordance with documented plans and procedures (see Clause 2.11 - Technical Integrity
                             Assurance). These tests shall include analysis for all installation, tie-back, production load
                             cases, contingency tools, and interventions.       Welding, mechanical testing, and non-
                             destructive testing shall be performed in accordance with recognized COMPANY and
                             international standards.




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                               Additional testing and qualification may be required for non-standard (new or modified)
                               equipment. Testing programs and procedures are subject to review and approval by
                               COMPANY. CONTRACTOR shall perform Failure Mode Effect and Criticality Assessment
                               (FMECA) for any downhole equipment that is of a new or modified design. COMPANY shall
                               be given the option of taking part in FMECA programs.

                               All design assumptions and calculations shall be made available for audit or verification. All
                               proposed equipment may be subjected to a COMPANY specified design review process
                               (e.g., Detailed Design Review).

                               Gravel pack packers, when used as production packers, shall be qualified in accordance with
                               API Specification 1101 I ISO 14310 and to a design validation grade V3 for oil service and
                               VO for gas service. (CONTRACTOR equipment meets ISO 14310 quality grade 02.) The
                               API monogram shall be required.


                        2.11   Technical Integrity Assurance

                               Technical integrity assurance requirements inclusive of quality assurance, quality control, and
                               design verification requirements are given in the following documents:

                               •        BP-EPT-IAS-01 :         Integrity Assurance Specification (lAS) for the Procurement
                                                                of Critical equipment for Drilling & Completions (excluding
                                                                Tubular Products).
                               •        BP-EPT-IAS-02:          Integrity Assurance Specification (lAS) for the Procurement
                                                                of Critical equipment for Drilling & Completions (excluding
                                                                Tubular Products).
                               •        BP-DC-EIA-DRP-01 :      Design Review Process for Drilling, Completion and Subsea
                                                                Equipment.

                               In cases where a BP Global OCP exists, this shall be used for critical equipment.


                        2.12 Marking and Traceability

                               lMlere traceability is a requirement for compliance with the respective API or other standard,
                               CONTRACTOR shall control and record the unique identification of equipment. The
                               components shall be marked as follows:

                               2.12.1    Supplier's name.

                               2.12.2 COMPANY Purchase Order number.

                               2.12.3 Supplier part number.

                               2.12.4 Assembly number.

                               2.12.5 Serial number.

                               2.12.6 Size and rated working pressure.

                               2.12.7 Date of manufacture.

                               2.12.8 API Monogram (as appropriate).




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                        2.13 Storage Requirements

                             CONTRACTOR is responsible for the storage and protection of all goods and materials being
                             supplied. Goods and materials shall be adequately protected against corrosion, handling,
                             and transportation damage through the use of suitable protection and measures which shall
                             include, but not be limited to, the following:

                             2.13.1   All non-metallic completion items with the exception of fully assembled modules shall
                                      be stored in a temperature-controlled atmosphere to prevent deterioration.

                             2.13.2 Elastomers, including packers and seal elements, shall be stored inside an
                                    environmentally controlled atmosphere in closed lightproof packets (complete with
                                    cure date and expiration date details) and protected against mechanical damage.

                             2.13.3 All metallic completion equipment shall be handled, transported, and stored in
                                    accordance with BP GIS-02-207, Guidance Document for the Handling,
                                    Transportation and Storage of Casing & Tubing (OCTG) or CONTRACTOR's
                                    procedures whichever is the more stringent. Although BP GIS-02-207 is for OCTG,
                                    the same requirements shall be applied to completion equipment as appropriate.

                             2.13.4 All CRA materials (see BP GIS-02-207, Section 3 for definition of CRA) shall be
                                    stored away from harmful environments such as chloride-laden atmosphere (salt air).

                             2.13.5 All completion items including all fully assembled modules shall be properly stored
                                    (vertical and I or horizontal) under cover to prevent corrosion, contamination, and
                                    damage. Ports and bores shall be protected to prevent ingress of debriS, insects
                                    (and their remains) and lor animals (and their remains).

                             2.13.6 All completion items including fully assembled modules shall have the appropriate
                                    preservation I protection applied as advised by the original equipment manufacturer.

                             2.13.7 All temporary corrosion protection fluids and greases shall be of a low sulfur type,
                                    compatible with the intended hydrocarbon service and non-damaging to the
                                    completion.

                             2.13.8 Thread protectors shall be used for all threaded connections (composite plastic,
                                    breathable type for premium connections, steel style for API type connections).

                             2.13.9 CONTRACTOR shall ensure that all sealing surfaces shall be adequately protected
                                    against corrosion, impact, and abrasion damage.

                             2.13.10 Shear pins shall be closely controlled to avoid the risk of improper use in assembly
                                     and preparation. Procedures shall be in place to ensure segregation of new and
                                     used shear stock and other consumable items.

                             2.13.11 All equipment exposed to salt I brine atmosphere I fluids and returned to
                                     CONTRACTOR for storage shall be rinsed in potable water to ensure that no salt
                                     deposit remains and that the residual chloride ion concentration of the waste water is
                                     negligible «100 milligrams per liter or the level of atmospheric chloride
                                     concentration, whichever is greater) after the equipment has been allowed to soak
                                     for 30 minutes.


                 3.0    UPPER COMPLETION EQUIPMENT



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                        3.1   General

                              The Upper Completion Equipment shall include the equipment that starts after the installation
                              of the lower completion.

                        3.2   Production Packers and Associated Equipment

                              3.2.1     General

                                        Production packers and associated equipment shall include, but not be limited to:

                                        (a)     Permanent packers.

                                        (b)     Packer recovery tools

                                        (c)     Spares Inventory for equipment and tools.

                                        (d)     Intervention-less packer setting devices.

                                        (e)     Retrievable or removable packers.

                                        COMPANY aims to install its completions in a single trip, i.e., with no wireline or
                                        coiled tubing (CT) operations. The completion shall include a device to set the
                                        packer remotely from surface without the requirement for any wireline work. A
                                        secondary setting mechanism shall be provided in the event that the primary
                                        mechanism fails.

                                        The upper completion shall isolate any potential weak points in the lower completion
                                        (i.e., gravel pack closure sleeve).

                              3.2.2     Technical Requirements

                                        (a)     Permanent Production Packer for Non-DHFC Wells

                                                (i)     00 shall be suitable to run through and set in specified casing.

                                                (ii)    10 shall be at least as large as full bore tubing.

                                                (iii)   Packer shall have a one piece body.

                                                (iv)    Packer shall have an anti-pre-set mechanism.

                                                (v)     The slips shall be bi-directional slips with as maximum circumferential
                                                        contact as practically possible.

                                                (vi)    It shall be possible to circulate through the packer while running the
                                                        completion.

                                                (vii)   The packer shall be capable of being set in a hole angle of up to 85
                                                        degrees.

                                                (viii) The packer shall have premium tubing connections as detailed in Clause
                                                       2.0 ofthis Part 5, unless otherwise specified by COMPANY.




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                                             (ix)    Metallurgy shall be equivalent or better than tubing.

                                             (x)     Elastomers shall be as detailed in Clause 2.0 of this Part 5, unless
                                                     otherwise specified by COMPANY.

                                             (xi)    Temperature range shall be as detailed in Clause 2.0 of this Part 5,
                                                     unless otherwise specified by COMPANY.

                                             (xii)   Differential pressure rating shall be range from 10,000 psi to 15,000 psi,
                                                     as specified in Appendix 3 and/or Appendix 4.

                                             (xiii) Packer shall allow for a minimum of two thread re-cuts.

                                             (xiv) Packer shall be suitable for production fluids and completion /
                                                   intervention fluids. Further details can be found in Appendix - Well Bore
                                                   Information for representative well types.

                                             (xv)    Packer shall be removable (i.e., primary removal shall be cut-to-release).

                                             (xvi) Qualified packer envelopes shall be in accordance with ISO 14310
                                                   Validation Grade with VO for gas producers or V3 for oil producers,
                                                   unless otherwise specified by COMPANY. (CONTRACTOR equipment
                                                   meets ISO 14310 quality grade Q2.)

                                             (xvii) The equ ipment shall conform to ISO 14310 with Quality Grade of Q1 .
                                                    (CONTRACTOR equipment meets ISO 14310 quality grade Q2.)

                                             (xviii) The equipment shall conform to NACE MR-01-75.

                                             (xix) Hydrostatic is preferred method of packer setting, if available.

                                     (b)     Pressure Cycled Disappearing Plug

                                             This shall be the setting module for internal testing of tubing while running in
                                             hole and setting production packer.

                                             (i)     The plug shall be a one trip system.

                                             (ii)    The plug shall have full bore access when the valve is open.

                                             (iii)   The plug shall be a closed disc or ball valve.

                                             (iv)    The plug shall hold pressure from above not below.

                                             (v)     The valve shall be cycled open after a pre-determined number of
                                                     pressure cycles to allow full bore access to the tail pipe.

                                             (vi)    The plug shall allow for the tubing to fill up while running the completion
                                                     string through a companion tool.

                                             (vii)   The plug shall allow for pressure testing of the completion string while
                                                     running.

                                             (viii) The plug 00 shall suit maximum casing weight 10, but below the casing
                                                    drift diameter.




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                                               (ix)   The plug shall have an ultra slim OD design. Particular attention to slim
                                                      line designs shall be within the scope of supply.

                                               (x)    The plug shall have premium tubing connections as detailed in Clause
                                                      2.0 ofthis Part 5, unless otherwise specified by COMPANY.


                        3.3   Polished Bore Receptacle (PBR) and Dynamic Seals

                              3.3.1    General

                                       The PBR and associated equipment shall include, but not be limited to:

                                       (a)     PBR

                                       (b)     Dynamic seal stack

                                       (c)     Shearable release mechanism

                                       (d)     Mule Shoe

                                      The upper completion may be run with a lower most seal assembly and latch to
                                      engage the gravel pack I production packer. The seals will be spaced out so that they
                                      straddle the port closure sleeve.

                              3.3.2    Technical Requirements

                                       (a)     OD shall be suitable to run through and set in specified casing.

                                       (b)     The seal stack shall be of minimal cross section area to reduce piston forces,
                                               but not compromise performance.

                                       (c)     ID shall be able to accommodate the seals.

                                       (d)     Compressive strength when fully landed out shall be equivalent to tubing.

                                       (e)     PBR shall be able to run through dog leg severity of up to 10 degrees per 100
                                               ft (instantaneous) and extended dog leg severity of 4.5 degrees per 100 ft.

                                       (f)     Bonded type seals shall be preferred, for reliability and easy stabbing in high
                                               deviations.

                                       (g)     The PBR shall have premium tubing connections as detailed in Clause 2.0 of
                                               this Part 5, unless otherwise specified by COMPANY.

                                       (h)     The number of internal body connections shall be minimized. Internal body
                                               connections shall have metal-to-metal seals with backup resilient seal.

                                       (i)     Metallurgy shall be equivalent or better than tubing.

                                       (j)     Elastomers shall be as detailed in Clause 2.0 of this Part 5, unless otherwise
                                               specified by COMPANY.




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                                      (k)     Temperature range shall be as detailed in Clause 2.0 of this Part 5, unless
                                              otherwise specified by COMPANY.

                                      (I)     Dynamic sealing capacity shall have 20 year design life. Demonstrated
                                              performance testing shall be required to confirm required performance with
                                              expected downhole pressure and temperature conditions. Seal testing shall be
                                              approved by COMPANY.

                                      (m)     PBR shall allow for a minimum of two thread re-cuts.

                                      (n)     PBR shall be suitable for production fluids and completion / intervention fluids.
                                              Further details can be found in Appendix - Well Bore Information for
                                              representative well types.

                                      (0)     Seal assembly shall allow for 20 - 110 fI: of movement plus length required to
                                              cover port closure sleeve. Further details can be found in Appendix 3 and/or
                                              Appendix 4 for representative well types.

                                      (p)     A prepared bottom sub to provide easy entry into the polished bore receptacle
                                              shall be provided and shall be designed in such a way as to not impede access
                                              or retrieval of slick line, electric line or coiled tubing tools.

                                      (q)     The equipment shall conform to ISO 14310 with Quality Grade of Q1.
                                              (CONTRACTOR equipment meets ISO 14310 quality grade Q2.)

                                      (r)     The equipment shall conform to NACE MR-01-75.


                        3.4   Contraction (Space Out) Joint

                              3.4.1   General

                                      A contraction joint (space out assembly) shall be included in the upper completion for
                                      space out. It will be used to accommodate potential tally error and to allow for
                                      picking up the upper completion to orient the tubing hanger. When a production
                                      packer is run, the pressure sealing capabilities of the space out device must take into
                                      account the packer setting mechanisms and accommodate as necessary. This
                                      includes taking account of any trapped annulus that may hinder setting of the packer
                                      or reduce packer load envelope.

                              3.4.2   Technical Requirements

                                      (a)     Sealing (OHFC Wells)

                                              (i)     00 shall be suitable to run through and set in specified casing.

                                              (ii)    10 shall be at least as large as full bore tubing.

                                              (iii)   The space out joint shall have premium tubing connections as detailed in
                                                      Clause 2.0 of this Part 5, unless otherwise specified by COMPANY.

                                              (iv)    Metallurgy shall be equivalent or better than tubing.

                                              (v)     Elastomers shall be as detailed in Clause 2.0 of this Part 5, unless
                                                      otherwise specified by COMPANY.




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                                              (vi)    Temperature range shall be as detailed in Clause 2.0 of this Part 5,
                                                      unless otherwise specified by COMPANY.

                                              (vii)   The system shall not allow excessive pressure (greater than 3,000 psi)
                                                      to develop in the annulus between the production packer and gravel
                                                      pack packer.

                                              (viii) The space out joint shall have a shear value of approx 80,000 Ibs. The
                                                     space out joint shall be capable re-setting without pulling the upper
                                                     completion.

                                              (ix)    The space out joint shall have a stroke length of 110 feet, unless
                                                      otherwise specified by COMPANY.

                                      (b)     Non-Sealing

                                              (i)     00 shall be suitable to run through and set in specified casing.

                                              (ii)    10 shall be at least as large as full bore tubing.

                                              (iii)   The space out joint shall have premium tubing connections as detailed in
                                                      Clause 2.0 ofthis Part 5, unless otherwise specified by COMPANY.

                                              (iv)    Metallurgy shall be equivalent or better than tubing.

                                              (v)     Elastomers shall be as detailed in Clause 2.0 of this Part 5, unless
                                                      otherwise specified by COMPANY.

                                              (vi)    Temperature range shall be as detailed in Clause 2.0 of this Part 5,
                                                      unless otherwise specified by COMPANY.

                                              (vii)   The system shall not allow excessive pressure (greater than 3,000 psi)
                                                      to develop in the annulus between the production packer and gravel
                                                      pack packer.

                                              (viii) The space out joint shall have a shear value of approx 30,000 - 50,000
                                                     Ibs. The space out joint shall be capable re-setting without pulling the
                                                     upper completion.

                                              (ix)    The space out joint shall have a stroke length of 110 feet, unless
                                                      otherwise specified by COMPANY.


                        3.5   Downhole Chemical Injection System

                              3.5.1   General

                                      Downhole chemical injection systems shall include, but not be limited to:

                                      (a)     Chemical injection mandrel.

                                      (b)     Chemical injection check valve.




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                                      The system shall be equipped with a redundant dual check valve. The check valve
                                      shall require an initiation pressure to open, designed to avoid free flow by gravity.
                                      The system shall be equipped with a burst disk in addition to the check valves in
                                      order to allow the chemical injection line to be pressure tested. During installation it
                                      shall be possible to test the check valve integrity and to test the tubing without
                                      shearing the burst disk.

                              3.5.2   Technical Requirements

                                      (a)     Collapse, burst, tensile, and compressive ratings shall be equal to or greater
                                              than those of the adjacenttubing.

                                      (b)     Metallurgy shall be equivalent or better than tubing.

                                      (c)     Elastomers shall be as detailed in Clause 2.0 of this Part 5, unless otherwise
                                              specified by COMPANY.

                                      (d)     Temperature range shall be as detailed in Clause 2.0 of this Part 5, unless
                                              otherwise specified by COMPANY.

                                      (e)     10 shall be at least as large as full bore tubing.

                                      (f)     Mandrel shall have a one piece body.

                                      (g)     The mandrel shall have premium tubing connections as detailed in Clause 2.0
                                              ofthis Part 5, unless otherwise specified by COMPANY.

                                      (h)     The mandrel shall fit in specified production casing and allow for the passage
                                              of applicable control lines (downhole pressure and temperature. chemical
                                              injection, and I or DHFC).

                                      (i)     The system shall have metal to metal seals for the valves and injection line
                                              connections.

                                      (j)     The system shall have a chemical passage consistent with the injection line ID
                                              (1/4",3/8", and 5/8", as specified by COMPANy), including the check valve.

                                      (k)     The system shall interface successfully with tubing hanger and tree. Any
                                              potential interface issues shall be identified by CONTRACTOR and further
                                              work will be done post contract award.

                                      (I)     CONTRACTOR shall demonstrate flow performance system testing (lines,
                                              valves, life-cycle, etc.).

                                      (m)     The system shall have injection valve springs to prevent loss of chemical.

                                      (n)     The equipment shall conform to the following standards:

                                              (i)    NACE MR-01-75.

                                              (ii)   ISO 11960 (API Spec 5CT)


                        3.6   Flow Control Systems and Other Subsidiary Items




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                             3.6.1   General

                                     Flow control systems and subsidiary items shall include, but not be limited to:

                                     (a)     Landing nipples.

                                     (b)     Wireline Entry Guides (\NEGs).

                                     (c)     Crossovers

                             3.6.2   Technical Requirements

                                     (a)     Flow Control System

                                             (i)     There shall be one profile in the TR-SCSSV.

                                             (ii)    Contingency designs for open hole sand face completions shall include
                                                     two further profiles, above and below the packer.

                                             (iii)   Collapse, burst, tensile, and compressive ratings shall be equal to or
                                                     greater than those of the adjacent tubing.

                                             (iv)    Metallurgy shall be equivalent or better than tubing.

                                             (v)     The flow control system shall have premium tubing connections as
                                                     detailed in Clause 2.0 of this Part 5, unless otherwise specified by
                                                     COMPANY.

                                             (vi)    Temperature range shall be as detailed in Clause 2.0 of this Part 5,
                                                     unless otherwise specified by COMPANY.

                                             (vii)   The flow control system shall allow for a minimum of two thread re-cuts.

                                             (viii) The flow control system shall conform to ISO 16070. ISO 16070 Quality
                                                    Grade Q1 and Validation Grade V2 shall apply.

                                     (b)     Landing Nipples

                                             (i)     Landing nipples shall conform to ISO 16070. ISO 16070 Quality Grade
                                                     Q1 and Validation Grade V2 shall apply.

                                             (ii)    Material shall comply with API and NACE MR-01-75.

                                             (iii)   A no go shoulder shall be required only for locating and setting flow
                                                     control devices and shall not be a load bearing point; therefore, no go
                                                     sizing shall be minimized.

                                             (iv)    The landing nipple shall have a standard pressure rating as determined
                                                     by the pressure rating of the tubing connection. Further details can be
                                                     found in Appendix 3 and/or Appendix 4.

                                             (v)     Ideally the nipple profile shall be designed in such a way as to allow for
                                                     Original Equipment Manufacturer (OEM) locks to be utilized where
                                                     necessary.




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                                             (vi)    Landing nipples shall have premium tubing connections as detailed in
                                                     Clause 2.0 ofthis Part 5, unless otherwise specified by COMPANY.

                                     (c)     Locks

                                             (i)     The lock shall be retrievable at all times during the life of the well.

                                             (ii)    The lock shall be designed so that it may only be located and set in a
                                                     proper nipple profile.

                                             (iii)   The lock shall have a standard pressure rating as determined by the
                                                     pressure rating of the tubing connection. Further details can be found in
                                                     Appendix 3 and/or Appendix 4.

                                             (iv)    Locks shall conform to ISO 16070, Quality Grade Q1 and Validation
                                                     Grade V2 shall apply.

                                             (v)     The lock. shall have a simple and rugged construction minimizing moving
                                                     parts e.g., expander mandrel and lock dogs.

                                             (vi)    The lock. shall have no springs behind lock. dogs.

                                             (vii)   The lock shall be designed to withstand sand and small debris.

                                             (viii) The locks shall have large area, pressure-bearing locking dogs for
                                                    greater pressure capabilities from above and below. Lock dogs shall be
                                                    the pressure 1 load bearing point and not the no go.

                                             (ix)    Lock dogs shall be designed to lift the no go off the locating point when
                                                     in the set position. This will eliminate no go swaging.

                                             (x)     The lock shall have a positive locking mechanism that prevents vibration
                                                     affects from un-seating the locks,

                                             (xi)    The lock shall have an external fishing neck for easy retrieval.

                                             (xii)   The lock shall have a smooth bore inside that inhibits corrosion or
                                                     sticking by foreign elements.

                                             (xiii) The lock shall have a positive locking indicator in the running tool to
                                                    confirm that the lock is set as designed.

                                             (xiv) The lock shall be compatible with standard wireline equipment, coiled
                                                   tubing equipment, and electric line tractors.

                                     (d)     Crossovers

                                             (i)     The length shall allow for at least two re-cuts of each thread.

                                             (ii)    The length will allow a minimum of 5-7/8" space after re-cuts, plus 2"
                                                     clearance plus marking area.

                                             (iii)   The maximum total length shall be 24".

                                             (iv)    Crossovers shall be manufactured in accordance with ISO 11960 (API



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                                                      SCT) and BP GIS-02-203.

                                              (v)     Crossovers shall have premium tubing connections as detailed in Clause
                                                      2.0 ofthis Part 5, unless otherwise specified by COMPANY.


                        3.7   TR-SCSSV

                              3.7.1   General

                                      Tubing retrievable surface controlled subsurface safety valve (TR-SCSSV) and
                                      associated equipment shall include, but not be limited to:

                                      (a)    TR-SCSSV.

                                      (b)    Control line and fittings.

                                      (c)    Lock open tools.

                                      (d)    Communication tools.

                                      (e)    VVireline retrievable surface controlled subsurface safety valves (WR-SCSSV)
                                             as a contingency (where applicable).

                                      (f)    Running tools for WR-SCSSV (where applicable).

                                      The TR-SCSSV shall be a fail-safe close design and, when closed, have a leakage
                                      rate below that specified in ISO 10432 (API 14A) for a newly manufactured valve and
                                      API RP 14B for 'in-situ'. It shall be possible to temporarily lock open the valve using
                                      a sleeve or other device. Where a heavy sprung SCSSV valve is applicable, it shall
                                      be possible to permanently lock it open and run a \NR-SCSSV to be operated by the
                                      existing control line.

                              3.7.2   Technical Requirements

                                      (a)     TR-SCSSV

                                              (i)     Collapse, burst, tensile, and compressive ratings shall be equal to or
                                                      greater than those of the adjacent tubing.

                                              (ii)    Metallurgy shall be equivalent or better than tubing.

                                              (iii)   Temperature range shall be as detailed in Clause 2.0 of this Part 5,
                                                      unless otherwise specified by COMPANY.

                                              (iv)    The TR-SCSSV shall have an eccentric external system to guide and
                                                      protect electrical lines.

                                              (v)     The TR-SCSSV shall have metal to metal seals on rod piston and on
                                                      body valve threads. There shall be a back-up seal on end of stroke.

                                              (vi)    The TR-SCSSV shall have a metal to metal flapper seal with plastiC
                                                      resilient back-up.

                                              (vii)   Crossovers shall have premium tubing connections as detailed in Clause




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                                                     2.0 ofthis Part 5, unless otherwise specified by COMPANY.

                                             (viii) The TR-SCSSV shall have a nipple profile to receive a temporary plug or
                                                    \NR-SCSSV (where applicable).

                                             (ix)    The equipment shall conform to the following standards:

                                                           API RP 14B.
                                                           API RP 14C.
                                                           ISO 10432 (API Spec 14A).
                                                           ISO 16070.
                                                           NACE MR-01-75.

                                             (x)     The TR-SCSSV shall be qualified for ISO 10432 (API Spec 14A) Class 2
                                                     service.

                                             (xi)    The TR-SCSSV shall be qualified for COMPANY specified, high-rate,
                                                     gas slam closure testing.

                                             (xii)   The TR-SCSSV shall be qualified for COMPANY specified endurance
                                                     testing.

                                             (xiii) For landing nipples, ISO 16070 Quality Grade Q1 and Validation Grade
                                                    V2 shall apply.

                                             (xiv) TR-SCSSVs shall be API Specification 14A monogrammed.

                                             (xv)    The maximum outside diameter shall allow for all of the control lines that
                                                     might be seen in a given well to bypass the TR-SCSSV in specified
                                                     production casing (casing drift).

                                             (xvi) Both equalizing and non-equalizing valves will be considered.

                                     (b)     \NR-SCSSV (where applicable)

                                             (i)     Metallurgy shall be equivalent or better than tubing.

                                             (ii)    Elastomers shall be as detailed in Clause 2.0 of this Part 5, unless
                                                     otherwise specified by COMPANY.

                                             (iii)   Temperature range shall be as detailed in Clause 2.0 of this Part 5,
                                                     unless otherwise specified by COMPANY.

                                             (iv)    The equipment shall conform to the following standards:

                                                           API RP 14B.
                                                           API RP 14C.
                                                           ISO 10432 (API Spec 14A), Class 2 service.
                                                           ISO 16070.
                                                           NACE MR-01-75.

                                             (v)     For locking mandrels, ISO 16070 Quality Grade Q1 and Validation
                                                     Grade V1 shall apply.

                                             (vi)    WR-SCSSVs shall be API Spec 14A monogrammed.




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                              3.7.3   Operating Pressure Design

                                      The general parameters to determine the actual operating pressures of both the TR-
                                      SCSSV and \I\IR-SCSSV shall be finalized by COMPANY on WORK ORDER. The
                                      valve might see transient pressures higher, but it is not a requirement that the valve
                                      be held open by control line pressure during transient conditions. However, the valve
                                      shall be pump-through at these times. Ideally the same valve would be used in all
                                      fields to allow for total standardization, but due to the variations across fields and the
                                      additional engineering and cost issues of designing such a valve, this may not be
                                      readily achievable. In fields where it makes economic and technical sense, the same
                                      valve shall be proposed.


                        3.8   Downhole Gauges

                              3.8.1   General

                                      Downhole gauges and associated equipment shall include, but not be limited to:

                                      (a)     Downhole Pressure I Temperature gauge(s).

                                      (b)     Cable head.

                                      (c)     Gauge mandrel.

                                      (d)     Cable.

                                      (e)     Control Line.

                                      (f)     Card for the Subsea Control Module.

                                      Continuous data read-outs shall be required on the rig throughout the installation
                                      process. Continuous data collection shall be required after the well has been
                                      completed.

                                      The gauge connectors at the hanger, tree, tubing hanger running tool, emergency
                                      disconnect package, etc., will be supplied by others. The gauge mandrel shall not
                                      form a choke to flow, i.e., its intemal bore shall be at least as large as that of the
                                      tubing.

                              3.8.2   Technical Requirements

                                      (a)     Gauge Mandrels

                                              (i)     Gauge mandrel shall be designed to the same tension, compression,
                                                      burst and collapse ratings equal to or greater than those of the adjacent
                                                      tubing.

                                              (ii)    Metallurgy shall be equivalent or better than tubing.

                                              (iii)   ID shall be at least as large as full bore tubing.

                                              (iv)    Gauge mandrel shall have a one-piece body.




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                                              (v)      Gauge mandrel shall have premium tubing connections as detailed in
                                                       Clause 2.0 ofthis Part 5, unless otherwise specified by COMPANY.

                                      (b)     Pressure and Temperature Gauges

                                              (i)      These requirements shall be met:

                                              Pressure and Temperature Gauge Specifications

                        Type          Range                     Max Drift              Accuracy            Resolution
                        Pressure      1,000 - 15,000 psi        3 psi per yr           +/- 43 psi          0.01 psi
                        Temperature   40 - 275 degrees          +/- 0.09 degrees       +/- 1 .8 degrees    0.002 degrees
                                      Fahrenheit                Fahrenheit per year    Fahrenheit          Fahrenheit

                                              (ii)     Sampling rate shall be one date point per second.

                                              (iii)    Quartz gauges shall be used.

                                              (iv)     Gauges shall be protected from shocks by design, and the efficiency of
                                                       protection shall be tested and documented. A shock tolerance of 11 g
                                                       shall be required.

                                              (v)      Gauges shall be tested to confirm resistance to vibration. Vibration
                                                       resistance test procedures and results shall be fully documented.

                                              (vi)     Gauges shall be isolated from well-bore fluids and shall be unaffected by
                                                       pressure breathing.

                                              (vii)    Isolation seals shall be metal-to-metal and back-up elastomeric seals
                                                       shall be of a material specified in Clause 2.0 of this Part 5. Final seal
                                                       choice shall be made by COMPANY on WORK ORDER.

                                              (viii)   Cable head shall be externally testable.

                                              (ix)     Cable head shall be of thread and ferrule type.     Welded cable head
                                                       connections shall not be accepted.

                                      (c) SCM Card

                                              The card shall interface successfully with the subsea production system.

                                      Cd) Cable and Accessories

                                              (iv)     Cable shall have an Incoloy 825 sheath.

                                              (v)      Cable shall be encapsulated with Santoprene or Halor equivalent
                                                       Polymide thermoplastic, unless otherwise specified by COMPANY.
                                                       Further details can be found in Appendix - Well Bore Information for
                                                       representative well types.

                                              (vi)     Size and flat pack configuration shall be indicated on specified in
                                                       Appendix 3 and/or Appendix 4.       Lengths shall be specified by
                                                       COMPANY on WORK ORDER.




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                        3.9   Control Lines and Accessories

                              3.9.1    General

                                       The gauge lines and other control lines within the completion may be flat packed
                                       together ifthis is deemed to be the most efficient for installation by COMPANY.

                              3.9.2    Technical Requirements

                                       (a)     General

                                               (i)     All lines shall be seamless or welded and floating plug drawn bright-
                                                       annealed lines in Incoloy 825. COMPANY shall specify preference on
                                                       WORK ORDER.

                                               (ii)    CONTRACTOR shall supply Incoloy 825 twin ferrule compression fittings
                                                       suitable for use at working pressure. Further details can be found in
                                                       Appendix - Well Bore Information for representative well types.

                                               (iii)   Fittings shall either be Autoclave brand or be another brand approved by
                                                       COMPANY.

                                               (iv)    The lines shall be encapsulated with thermoplastic material, which has a
                                                       minimum thickness of 2 mm (Santoprene or Halor equivalent Polymide
                                                       thenmoplastic). Further details can be found in Appendix 3 and/or
                                                       Appendix 4 for representative well types.

                                               (v)     Fluid cleanliness shall be to NAS 1638v Class 6 or cleaner.

                                               (vi)    Temperature rating shall be 40 to 275 degrees Fahrenheit.

                                       (b)     Electrical Line

                                                       (i)     Working pressure as specified in Appendix - Well Bore Information
                                                               with adequate factors of safety to be provided.

                                                       (ii)    Hardness of line shall meet or exceed             NACE   MR-01-75
                                                               specification for sour service, as appropriate.

                                                       (iii)   Cable shall be copper mono-conductor (compatible with gauges).

                                                       (iv)    Cable shall be suitably armored for deployment conditions.


                        3.10 Line Protectors

                              3.10.1   General

                                       (a)     Protectors shall include cross coupling protectors and specialty protectors
                                               (e.g., TR-SCSSV and other BHAs).

                                       (b)     Details on the number of control lines and flat pack configurations shall be
                                               specified by COMPANY on WORK ORDER. Appendix 3 and/or Appendix 4
                                               contains recommended configurations.




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                                        (c)     The protectors shall protect and support the various lines along the tubing at
                                                their most vulnerable positions. At the tubing couplings, it is necessary to
                                                clamp one cross coupling protector. At the completion components, it is
                                                recommended to use one protector at each end, which do not cover the lines
                                                but give a good curve and alignment to the lines.

                                        (d)     Protectors shall protect the lines from potential damage caused by any part of
                                                the well completion process, especially caused by the dynamic motion of the
                                                tubing in the well bore. They shall support the lines with no slippage.

                                        (e)     The protectors shall align the tubing in such a way that the protectors do not
                                                impede the completion, running smoothly into the production casing. In
                                                addition, they shall be retrievable and reusable if the completion is pulled.

                               3.10.2 Technical Requirements

                                        (a)     Lines shall be supported with no slippage.

                                        (b)     Line protectors shall have a flat pack grip capacity equivalent to at least 90 feet
                                                of flat pack weight.

                                        (c)     Line protectors shall have chamfered edges to prevent hang up while running
                                                in or out of the well.


                        3.11   Annular (Circulation) Vent Sub

                               3.11.1   General

                                        Annular Vent Sub system shall include, but not be limited to:

                                        (a)     Parting Piston.
                                        (b)     Filter Screen.
                                        (c)     End Subs
                                        (d)     Control line and fittings
                                        (e)     Control line clamps.

                                        The system shall be equipped with a redundant dual check valve. The check valve
                                        shall require an initiation pressure to open, designed to avoid free flow by gravity.
                                        The system shall be equipped with a burst disk in addition to the check valves in
                                        order to allow the chemical line to be pressure tested. During installation it must be
                                        possible both to test the check valve integrity and to test the tubing to 5,000 psi
                                        without shearing the burst disk.

                               3.11.2 Technical Requirements

                                        (a)     Annular Vent Sub System

                                                (i)     Design to COMPANY specified tension, compression, burst and collapse
                                                        ratings.

                                                (ii)    Metallurgy to be equivalent or better than tubing, unless otherwise
                                                        specified by COMPANY.

                                                (iii)   Elastomers shall be as detailed in Clause 2.0 of this Part 5, unless




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                                                    otherwise specified by COMPANY.

                                            (iv)    Temperature range shall be as detailed in Clause 2.0 of this Part 5,
                                                    unless otherwise specified by COMPANY.

                                            (v)     The system shall have 5/8" MP Autoclave female top connections.

                                            (vi)    The system shall have a 6,000 psi parting piston rupture (+1- 5%).

                                            (vii)   The system shall be 316L SS or higher alloy for screen, 0.030" spacing,
                                                    20 gauge, screen mechanically attached to COMPANY supplied pipe.

                                            (viii) The system shall have premium tubing connections as detailed in Clause
                                                   2.0 ofthis Part 5, unless otherwise specified by COMPANY.

                                            (ix)    The system shall fit in specified production casing and to allow the
                                                    passage of appropriate cables (pressure and temperature, chemical
                                                    injection, Real Time Temperature Profiling, and DHFC).

                                            (x)     The system shall have metal to metal seals.

                                            (xi)    CONTRACTOR shall demonstrate flow performance system testing
                                                    (lines, valves, life-cycle, etc.), as applicable.

                                            (xii)   The system shall interface successfully with the SPS equipment.         The
                                                    equipment shall conform to the following standards:

                                                          NACE MR-01-75.
                                                          ISO 11960 (API Spec SCT).

                                            (xiii) The system shall have COMPANY 25Cr Super Duplex or higher CRS
                                                   Specification.


                 4.0    REFERENCES

                        ISO 11960 (API Spec SCn:          Petroleum and natural gas industries - Steel pipes for use as
                                                          casing or tubing for wells.

                        ISO 14310 (API Spec 1101):        Petroleum and natural gas industries - Downhole equipment -
                                                          packers and bridge plugs.

                        NACE MR-01-75:                    Sulfide stress cracking resistant materials for oilfield equipment.

                        API Specification 6A718:          Specification of Nickel Base Alloy 718 (UNS N07718) for Oil and
                                                          Gas Drilling and Prod uction Equipment. 1st Edition March 2004*

                        * - Note In addition to the requirements of API Spec 6A718, COMPANY has a further requirement
                        that the minimum total hot work reduction ratio shall be 4:1 and not 3.75:1 as per Section 4.1.3.1 of
                        AP16A718.


                        BP References:

                        GIS 02-201:        Specification for OCTG Seamless Casing & Tubing (Standard Grades).




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                        GIS-02-203:        Specification for OCTG Crossover Connectors.

                        GIS-02-204:        Specification for OCTG Sour Resistant Grade C110 Low Alloy Steel OCTG
                                           Seamless Casing.

                        GIS-02-205:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        GIS-02-206:        Specification for Duplex and Super Duplex 25% Chrome Stainless Steel
                                           Seamless Pipe.

                        BP-EPT-IAS-01:     Integrity Assurance Specification - For the Procurement of Critical equipment
                                           for Drilling and Completions.

                        For undated references, the latest edition of the normative document referred to applies.

                 5.0    DEFINITIONS AND ABBREVIATIONS

                        For the purposes of this Part 5 - Upper Completions, the following definitions and abbreviations will
                        apply:

                        AISI:     American Iron and Steel Institute
                        API:      American Petroleum Institute
                        BHA:      Bottom Hole Assembly
                        bpm:      Barrels per minute
                        CHFP:     Cased Hole Frac Pack
                        CI:       Chemical Injection
                        CRA:      Corrosion-Resistant Alloy
                        DHFC:     Downhole Flow Control
                        DHPT:     Downhole Pressure and Temperature
                        EDTA:     Ethylenediamine Tetraacetic Acid
                        FLCV:     Fluid Loss Control Valve
                        FMECA:    Failure Mode Effect and Criticality
                        GoM:      Gulf of Mexico
                        GP:       Gravel Pack
                        HT:       High Temperature
                        lAS:      Integrity Assurance Specification
                        ID:       Internal Diarneter
                        ISO:      International Organization for Standardization
                        NACE:     National Association of Corrosion Engineers
                        NAS:      National Aerospace Standard
                        OD:       Outside Diameter
                        OEM:      Original Equipment Manufacturer
                        OHGP:     Open Hole Gravel Pack
                        PBR:      Polished Bore Receptacle
                        psi:      Pounds Per Square Inch
                        QA:       Quality Assurance
                        QC:       Quality Control
                        QCP:      Quality Control Plan
                        RIH:      Run in Hole
                        SOBM:     SynthetiC Oil-Based Mud
                        SOR:      Statement of Requirements
                        TEC:      Twisted Encapsulated Conductor
                        TR-SCSSV: Tubing Retrieved Surface Controlled Subsurface Safety Valve




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                        WBM:     Water-Based Mud
                        WEG:     Wireline Entry Guide
                        WR-SCSSV:Wireline Retrieved Surface Controlled Subsurface Safety Valve




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                                                     Section 3 - Scope of WORK
                                         Appendix 6 - Functional and Technical Specifications
                                                           E. Completions




                        STATEMENT OF REC)UIREMENTS - Kaskida




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                                                       Section 3 - Scope of Work
                                                     Appendix 7 - Technical Integrity




                                          Appendix 7 - Technical Integrity




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                                                       Section 3 - Scope of Work
                                                     Appendix 7 - Technical Integrity
                                                         A. Cementing Services




                                                       A. Cementing Services

                 1.0    TECHNICAL INTEGRITY FOR PROCURED EQUIPMENT

                        CONTRACTOR shall provide to COMPANY the WORK in accordance with the latest revision of
                        COMPANY Integrity Assurance Specification (lAS) for the procurement of critical equipment,
                        document reference BP-EPT-IAS-01.


                 2.0    TECHNICAL INTEGRITY FOR RENTAL EQUIPMENT

                        2.1   CONTRACTOR shall have established, implemented and maintained a Quality Assurance
                              System in conformance with the requirements of ISO 9001, API Q1 (ISO TS 29001) or any
                              other recognized or established standard I format as mutually agreed with COMPANY,
                              providing that all aspects of the CONTRACT and WORK which affect the quality of the
                              services supplied are defined, documented, proceduralized (where required) and controlled
                              under the system (including subcontracted services).


                        2.2   CONTRACTOR shall implement and maintain location specific Quality Plans, and applicable
                              working procedures for the duration of the CONTRACT.


                        2.3   CONTRACTOR's Quality Plan shall be submitted to COMPANY for approval prior to
                              commencement of the WORK.


                        2.4   CONTRACTOR shall allow COMPANY QA auditors full access to the WORK in progress,
                              personnel, records, and documentation for the purpose of conducting quality audits.


                        2.5   "Ad hoc" quality inspections may be undertaken by COMPANY on CONTRACTOR's quality
                              systems, as and when deemed necessary by COMPANY, and may be carried out without
                              any prior notice to CONTRACTOR.


                        2.6   \Mlere non conformances are identified during audits and / or inspections by COMPANY or
                              COMPANY third party inspectors, CONTRACTOR shall undertake the corrective actions as
                              required by COMPANY, within agreed specified time limits.


                        2.7   Corrective actions undertaken by CONTRACTOR as a result of non conformances being
                              identified during a quality audit or inspection shall be undertaken at no cost to COMPANY.


                        2.8   CONTRACTOR shall compile all necessary documentation in accordance with specified
                              requirements, and such relevant documentation shall be made available to COMPANY and I
                              or the Certifying Authority for certification purposes when and where appropriate.


                        2.9   CONTRACTOR's Quality Management System shall, as a minimum, include:

                              2.9.1 Design and Verification



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                                                        Section 3 - Scope of Work
                                                      Appendix 7 - Technical Integrity
                                                          A. Cementing Services



                                      CONTRACTOR will have an auditable and documented design and verification
                                      system for all the goods and materials supplied.

                              2.9.2 Formal job descriptions I responsibilities I authority

                                      All CONTRACTOR's personnel will have formal job descriptions detailing their
                                      responsibilities for work and their authorities to act. These will reflect the actual jobs
                                      they perform.

                              2.9.3 Receiving inspection for all equipment (new, unused and used)

                                      CONTRACTOR will establish and maintain a system for the receipt of all goods and
                                      materials being supplied by CONTRACTOR. This will include suitable inspection
                                      criteria which allows for identification of conforming and non conforming equipment. A
                                      quarantine area for non conforming equipment will be established.


                 3.0    NON-CONFORMING GOODS

                        3.1   CONTRACTOR will establish and maintain a system that identifies any goods and materials
                              supplied which do not conform to specifications i.e., Non Conformance Reports (NCRs).


                        3.2   The system will be capable of managing any non conformances identified either through
                              design, goods receipt inspection, assembly and testing, inspection and maintenance
                              regimes, CONTRACTOR internal audits, COMPANY audits or inspections and any failed in
                              service items as identified either by CONTRACTOR's field personnel or COMPANY's field
                              representatives.


                        3.3   \MIere non conformances are identified, CONTRACTOR will perform, within a time period
                              acceptable to COMPANY, all corrective actions required to prevent recurrence.


                        3.4   Corrective actions undertaken by CONTRACTOR as a result of non-conformances identified
                              will be undertaken at no cost to COMPANY.


                 4.0    INSPECTION AND TESTING STANDARDS: including acceptance / reject criteria, using
                        Original Equipment Manufacturer or Supplier (OEM) specifications as a minimum.

                        4.1   CONTRACTOR will establish and maintain a formal inspection management system for all
                              goods and materials supplied; the system will as a minimum:

                              4.1.1    Provide detailed inspection specifications, including acceptance and rejection criteria
                                       for proprietary equipment and materials supplied by CONTRACTOR and any
                                       SUBCONTRACTOR.

                              4.1.2    Meet DS-1 Category 4 inspection requirements for components covered by TH Hill
                                       Associates, Inc. Standard DS-1 Drill Stem Design Inspection latest revision or
                                       alternatively the Drilling Equipment Inspection Procedures (DEIP), as applicable to
                                       the goods and services supplied by CONTRACTOR and any SUBCONTRACTOR.

                              4.1.3    Provide competent inspectors of the equipment, qualified and competent to perform



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                                                        A. Cementing Services


                                      the inspection required.

                              4.1.4   Will use and demonstrate compliance with DS-1 I DEIP (where applicable) and
                                      specified inspection criteria. The requirements are applicable to all pipe I tubulars
                                      used down hole.

                        4.2   CONTRACTOR will provide the specifications and criteria used for the inspection of goods
                              and materials supplied.

                        4.3   CONTRACTOR will establish and maintain a system for verifying the integrity of the
                              equipment through testing and inspection. The testing specification and standards for
                              equipment will be made available for review by COMPANY and COMPANY will have the right
                              to implement changes.

                        4.4   All assemblies will be tested in accordance with procedures approved by COMPANY prior to
                              release and shipment. Verification of testing may be required by COMPANY through its own
                              representatives. COMPANY and CONTRACTOR will develop a quality assurance plan as
                              part of the Statement of Requirements (SOR) which will provide details of the inspection and
                              acceptance criteria, witness and hold pOints required by COMPANY during manufacture, test,
                              and assembly.

                        4.5   All load bearing equipment, lifting equipment and lifting pOints will be inspected and tested in
                              accordance with LOLER requirements and with current certification for the duration of the
                              CONTRACT.

                        4.6   CONTRACTOR will be responsible for ensuring that its SUBCONTRACTORS comply with
                              the inspection and testing requirements.


                 5.0    MAINTENANCE MANAGEMENT SYSTEM

                        In accordance with OEM as a minimum, including compliance to US legislative requirements.

                        5.1   CONTRACTOR will establish and maintain a planned maintenance system for all goods and
                              materials supplied by CONTRACTOR and SUBCONTRACTORS.

                        5.2   The maintenance regimes will be as per OEM unless otherwise demonstrated that changes
                              to the routines are justified.


                 6.0    REPAIR STANDARDS AND PROCEDURES

                        In accordance with OEM as a minimum.

                        6.1   CONTRACTOR will establish and maintain refurbishment and repair procedures to ensure
                              the integrity of goods and materials supplied. These will be OEM standards as a minimum,
                              unless otherwise demonstrated that changes to the approved repair standard are justified.

                        6.2   CONTRACTOR will establish, qualify, and maintain approved welding procedures for the
                              goods and materials which require welding and will use suitably competent and coded
                              welders (ASME IX) for any weld repair work.

                        6.3   CONTRACTOR will ensure SUBCONTRACTORS comply with this requirement.




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                                                       Appendix 7 - Technical Integrity
                                                          A. Cementing Services



                 7.0    FINAL INSPECTION PRIOR TO DISPATCH TO WORKSITE

                        7.1   CONTRACTOR will establish and maintain a final inspection system prior to dispatch of the
                              equipment to the WORKSITE. Signed release notes will be provided with the equipment.

                        7.2   The final inspection and check control system must ensure that the final product complies
                              with the original SOR and that all NCRs and any associated Corrective Action Requests
                              (CAR) have been closed out prior to release and shipping.


                 8.0    PURCHASING STANDARDS AND SPECIFICATIONS

                        8.1   Where CONTRACTOR purchases materials, spares and other equipment, CONTRACTOR
                              will establish and maintain a system that details and documents clearly the specifications
                              required to supply fit for purpose equipment. The specifications will include all material and
                              technical requirements, QA and legislative needs and any drawings (latest revisions).

                        8.2   OEM specifications will be used unless COMPANY agrees to use alternative specifications.


                 9.0    MATERIALS I EQUIPMENT TRACEABILITY

                        CONTRACTOR will establish and maintain a fully traceable system, including appropriate
                        documentation and certification for all the equipment including spares. As a minimum this will
                        provide:

                        9.1   Full traceability to heat numbers or lots (for all forgings and castings etc.)

                        9.2   Full traceability to cure and expiry dates (for all elastomers).

                        9.3   Full tool and service history (inspection, testing, maintenance, replacement of spare parts
                              and repairs undertaken).

                        9.4   Mapping and recording of tests, complete with verification testing undertaken (i.e., NOT
                              including hardness testing etc.), on any weld repair or heat treatment undertaken after
                              manufacture.

                        9.5   CONTRACTOR will compile all necessary documentation in accordance with specified
                              requirements, and such relevant documentation will be made available to COMPANY and lor
                              COMPANY's representative.

                        9.6   The minimum documentation to be held by CONTRACTOR relating to equipment supplied
                              will include:

                              9.6.1 Data books with full traceability.

                              9.6.2Material certificate(s) for any equipment.

                              9.6.3 Load test records for load bearing and lor lifting hoisting equipment.

                              9.6.4 Rental history movements.

                              9.6.5 Refurbishment history including any weld repair maps.

                              9.6.6 Inspection and maintenance reports.



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                                                        Appendix 7 - Technical Integrity
                                                           A. Cementing Services




                               9.6.7 Failure histories.

                               9.6.80riginals of documents supplied with the tools.

                        9.7    CONTRACTOR will provide the following documentation with all equipment shipped to the
                               WORKSITE:

                               9.7.1   Certificate(s) of conformity.

                               9.7.2 Current inspection certificate.

                               9.7.3   Current pressure test certificate.

                               9.7.4 Certificate for slings and baskets.

                        9.8    Each item of equipment will be marked with a clearly identifiable unique permanent traceable
                               / serial and part number.


                 10.0 CALIBRATION MANAGEMENT OF EQUIPMENT

                        10.1   CONTRACTOR will identify all equipment that requires calibration. CONTRACTOR will
                               establish and maintain a Calibration Management System and all equipment will conform to
                               the calibration schedules and technical requirements.

                        10.2 Calibration will be in accordance with calibration system specifications and include API Spec
                             7 requirements for API threads.

                        10.3 All equipment requiring calibration will be marked with last calibration, next due calibration
                             date and display details of the individual responsible for the calibration.


                 11.0 MANAGEMENT OF CHANGE

                        11.1   CONTRACTOR will establish and maintain a system for identifying and approving changes to
                               approved equipment design, standards, specifications and procedures. All changes to
                               approved designs etc. whether permanent or temporary will be controlled and managed. All
                               changes will be technically reviewed and will not compromise the integrity of the equipment
                               and will be suitable for the anticipated operating environment as specified. COMPANY's
                               representatives will take part in the review process.

                        11.2 The system for managing change will be auditable and managed by competent personnel
                             with appropriate technical and financial authorities.

                        11.3 The Management of Change System will be communicated to all CONTRACTOR personnel
                             and CONTRACTOR will use its best endeavors to ensure an appropriate level of
                             understanding of the system.

                        11.4 CONTRACTOR will establish and maintain a quality management process to control
                             equipment modification or repairs carried out by a SUBCONTRACTOR.


                 12.0 DOCUMENT CONTROL SYSTEM




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                                                         A. Cementing Services


                        12.1 All critical documents (standards, specifications, procedures, drawings, technical and
                             operating manuals etc.) will be identified and controlled through a formal document control
                             management system.

                        12.2 The system will identify recipients of the controlled documents and have the facility to gather
                             and destroy old and out of date revisions.


                 13.0 SELECTION AND APPROVAL OF COMPETENT SUBCONTRACTORS

                        13.1   CONTRACTOR will establish and maintain an auditable process and system for selecting
                               and approving competent SUBCONTRACTORS.

                        13.2 CONTRACTOR will identify the criticality of the goods and services being provided by its
                             SUBCONTRACTORS and depending upon criticality will implement necessary checks,
                             controls and safeguards to ensure quality and reliable goods and services are provided.
                             Such checks, controls, and safeguards will be detailed in the SUBCONTRACT.

                        13.3 CONTRACTOR will establish and maintain an approved list of SUBCONTRACTORS
                             indicating which materials, goods, or services are being supplied. The list will be made
                             available to COMPANY.


                 14.0 MANAGING SUBCONTRACTORS

                        14.1   CONTRACTOR will establish and maintain a performance measuring and monitoring system
                               for SUBCONTRACTORS. The system will include regular auditing and reviewing of a
                               SUBCONTRACTOR commensurate with the criticality of the goods and services being
                               provided. The system will provide both assurance to CONTRACTOR and COMPANY that
                               SUBCONTRACTORS are providing fit for purpose, quality and reliable equipment.

                        14.2 CONTRACTOR will identify and implement checks and controls as part of its goods receipt
                             inspection system that provide CONTRACTOR and COMPANY with assurance that goods
                             and materials supplied by SUBCONTRACTORS comply with the purchase specification.

                        14.3 CONTRACTOR shall supply a copy of its planned audit schedule for SUBCONTRACTORS
                             during the life of the CONTRACT.          COMPANY shall have the option of placing a
                             representative with the audit team to monitor audits.


                 15.0 INTERNAL AUDIT SYSTEM

                        15.1   CONTRACTOR will establish and maintain its own internal auditing processes for assessing
                               and assuring compliance of its QMS and management control systems. Audit reports and
                               corrective action arising from these internal audits will be made available to COMPANY upon
                               request and CONTRACTOR will advise progress against recommended actions.

                        15.2 CONTRACTOR shall supply a copy of its planned internal audit schedule during the life of
                             the CONTRACT. COMPANY shall have the option of placing a representative with the audit
                             team to monitor audits.


                 16.0 AUDIT BY THE COMPANY

                        16.1   COMPANY reserves the right and will from time to time perform audits on CONTRACTOR



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                                                            A. Cementing Services


                                 against the Scope of Work and CONTRACTOR's management systems and controls, as part
                                 of COMPANY's assurance system.

                        16.2 CONTRACTOR will allow COMPANY's representatives full access to the work in progress,
                             personnel, records, and documentation for the purpose of conducting quality audits; this
                             requirement also applies to SUBCONTRACTORS.

                        16.3 "Ad hoc" quality audits may be undertaken by COMPANY on CONTRACTOR's quality
                             systems, as and when deemed necessary by COMPANY, and may be carried out without
                             any prior notice to CONTRACTOR.


                 17.0 MANAGEMENT SYSTEM FOR                     INVENTORY       INCLUDING      SPARES,     STORAGE,       AND
                      HANDLING OF EQUIPMENT

                        17.1     CONTRACTOR will establish and maintain an inventory stock and spares control system.
                                 The level of stock and spares will reflect the operational needs and work activities of
                                 COMPANY. CONTRACTOR will be responsible for ensuring that adequate stock and spares
                                 and including rental type equipment is available for COMPANY's use.

                        17.2 CONTRACTOR will be responsible for the storage and protection of all goods and materials
                             supplied.    Goods and materials will be adequately protected against damage and
                             deterioration; protection methods shall include:

                               17.2.1   Correct thread protectors for all threaded connections (compOSite plastic breathable
                                        type for premium connections, steel type for API type connections).

                               17.2.2   All seal faces and areas will be adequately protected commensurate with their service
                                        criticality; these materials will be stored inside and away from corrosive environments
                                        and handled using non metallic lifting appliances.

                               17.2.3   Elastomers will be stored inside in an environmentally controlled atmosphere in closed
                                        packets (complete with cure date and expiry date details).

                               17.2.4   Packer, seal elements, and other elastomeric materials will be stored in an
                                        environmentally controlled facility, suitably protected against impact and corrosion
                                        damage.

                               17.2.5   Shear pins will be closely controlled to avoid the risk of improper use in the hanger
                                        assembly and preparation. Procedures will be in place to ensure segregation of new
                                        and used shear stock and other consumable items.




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                                                            B. Fluids Services



                                                            B. Fluids Services

                 1.0    GENERAL GUIDELINES AND PRINCIPLES

                        1.1    CONTRACTOR will be required to submit a QA I QC plan for the equipment, services,
                               materials, and personnel furnished to COMPANY for review and approval. This QA I QC
                               plan shall be tailored after a recognized quality standard such as API-Q1, ISO 9001, MIL-
                               Q9858A or equivalent. Upon approval by COMPANY, this mutually agreed QA I QC plan
                               shall be made a part of this CONTRACT and shall apply not only to CONTRACTOR's
                               activities, but also to those of any SUBCONTRACTORs. The QA / QC plan shall, at a
                               minimum, include:

                        1.2    The mutually agreed upon stimulation QA I QC guidelines are to be site specific for a
                               particular area of operations. These guidelines will are based on the recommendations
                               found in, but not limited to, COMPANY Frac QA I QC Manual (see the attached Example QA
                               IQC Plan).

                        1.3    Detailed description of the stages of performance of a service or manufacture of equipment
                               components and final product.

                        1.4    Location of service to be provided, sources of materials and equipment, and manufacture,
                               inspection, assembly, testing and storage of any purchased equipment.

                        1.5    A matrix that shall list the full description of the individual services, products, and equipment
                               utilized in conducting required services, or of individual components and assembly of
                               purchased equipment, along with the documentation, traceability, testing, inspection and
                               process that shall be performed by CONTRACTOR or his agents. This matrix shall be
                               utilized by COMPANY to list any COMPANY required inspections, standards and testing in
                               addition to COMPANY's witness, review, traceability and documentation requirements.

                        1.6    Provisions    for     COMPANY       to  review    and    approve CONTRACTOR's and
                               SUBCONTRACTOR's QA I QC plans, processes, procedures, documentation, drawings,
                               materials, parts lists and non-conformance deviation reports.

                        1.7    Location of the handling and disposal of rejected parts after service.

                        1.8    The QA f QC plan shall contain certain inspections and manufacturing processes which
                               COMPANY mayor may not witness, verify or review. This does not absolve CONTRACTOR
                               from performing any and all tests, inspections, equipment calibrations, or dimensional
                               measurements that are required in CONTRACTOR's approved QA I QC plan.

                        1.9    COMPANY reserves the right to conduct any and all tests and any other inspection deemed
                               necessary by COMPANY at COMPANY's sale expense.

                        1.10   CONTRACTOR shall afford COMPANY reasonable access to:

                                             •   Perform audits.
                                             •   Perform relevant inspections.
                                             •   Review all QA I QC records and documents.
                                             •   Review all Safety and Environmental documents.




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                                                           C. Well Placement




                                                            C. Well Placement

                 1.0    GENERAL GUIDELINES AND PRINCIPLES

                        1.1    CONTRACTOR will be required to submit a QA I QC plan for the equipment, services,
                               materials, and personnel furnished to COMPANY for review and approval. This QA I QC
                               plan shall be tailored after a recognized quality standard such as API-Q1, ISO 9001, MIL-
                               Q9858A or equivalent. Upon approval by COMPANY, this mutually agreed QA I QC plan
                               shall be made a part of this CONTRACT and shall apply not only to CONTRACTOR's
                               activities, but also to those of any SUBCONTRACTORs. The QA I QC plan shall, at a
                               minimum, include:

                        1.2    The mutually agreed upon QA I QC guidelines are to be site specific for a particular area of
                               operations.

                        1.3    Detailed description of the stages of performance of a service or manufacture of equipment
                               components and final product.

                        1.4    Location of service to be provided, sources of materials and equipment, and manufacture,
                               inspection, assembly, testing and storage of any purchased equipment.

                        1.5    A matrix that shall list the full description of the individual services, products, and equipment
                               utilized in conducting required services, or of individual components and assembly of
                               purchased equipment, along with the documentation, traceability, testing, inspection and
                               process that shall be performed by CONTRACTOR or his agents. This matrix shall be
                               utilized by COMPANY to list any COMPANY required inspections, standards and testing in
                               addition to COMPANY's witness, review, traceability and documentation requirements.

                        1.6    Provisions    for     COMPANY       to  review    and    approve CONTRACTOR's and
                               SUBCONTRACTOR's QA I QC plans, processes, procedures, documentation, drawings,
                               materials, parts lists and non-conformance deviation reports.

                        1.7    Location of the handling and disposal of rejected parts after service.

                        1.8    The QA f QC plan shall contain certain inspections and manufacturing processes which
                               COMPANY mayor may not witness, verify or review. This does not absolve CONTRACTOR
                               from performing any and all tests, inspections, equipment calibrations, or dimensional
                               measurements that are required in CONTRACTOR's approved QA I QC plan.

                        1.9    COMPANY reserves the right to conduct any and all tests and any other inspection deemed
                               necessary by COMPANY at COMPANY's sole expense.

                        1.10   CONTRACTOR shall afford COMPANY reasonable access to:

                                             •   Perform audits.
                                             •   Perform relevant inspections.
                                             •   Review all QA I QC records and documents.
                                             •   Review all Safety and Environmental documents.




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                                                          D. Wire line Services




                                                         D. Wireline Services

                 1.0    TECHNICAL INTEGRITY FOR PROCURED EQUIPMENT

                        CONTRACTOR shall provide to COMPANY the WORK in accordance with the latest revision of
                        COMPANY Integrity Assurance Specification (lAS) for the procurement of critical equipment,
                        document reference BP-EPT-IAS-01.


                 2.0    TECHNICAL INTEGRITY FOR RENTAL EQUIPMENT

                        2.1   CONTRACTOR shall have established, implemented and maintained a Quality Assurance
                              System in conformance with the requirements of ISO 9001, API Q1 (ISO TS 29001) or any
                              other recognized or established standard I format as mutually agreed with COMPANY,
                              providing that all aspects of the CONTRACT and WORK which affect the quality of the
                              services supplied are defined, documented, proceduralized (where required) and controlled
                              under the system (including subcontracted services).


                        2.2   CONTRACTOR shall implement and maintain location specific Quality Plans, and applicable
                              working procedures for the duration of the CONTRACT.


                        2.3   CONTRACTOR's Quality Plan shall be submitted to COMPANY for approval prior to
                              commencement of the WORK.


                        2.4   CONTRACTOR shall allow COMPANY QA auditors full access to the WORK in progress,
                              personnel, records, and documentation for the purpose of conducting quality audits.


                        2.5   "Ad hoc" quality inspections may be undertaken by COMPANY on CONTRACTOR's quality
                              systems, as and when deemed necessary by COMPANY, and may be carried out without
                              any prior notice to CONTRACTOR.


                        2.6   Where non conformances are identified during audits and I or inspections by COMPANY or
                              COMPANY third party inspectors, CONTRACTOR shall undertake the corrective actions as
                              required by COMPANY, within agreed specified time limits.


                        2.7   Corrective actions undertaken by CONTRACTOR as a result of non conformances being
                              identified during a quality audit or inspection shall be undertaken at no cost to COMPANY.


                        2.8   CONTRACTOR shall compile all necessary documentation in accordance with specified
                              requirements, and such relevant documentation shall be made available to COMPANY and I
                              or the Certifying Authority for certification purposes when and where appropriate.


                        2.9   CONTRACTOR's Quality Management System shall, as a minimum, include:

                              2.9.1 Design and Verification



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                                                           D. Wire line Services




                                      CONTRACTOR will have an auditable and documented design and verification
                                      system for all the goods and materials supplied.

                              2.9.2 Formal job descriptions I responsibilities I authority

                                      All CONTRACTOR's personnel will have formal job descriptions detailing their
                                      responsibilities for WORK and their authorities to act. These will reflect the actual
                                      jobs they perform.

                              2.9.3 Receiving inspection for all equipment (new, unused and used)

                                      CONTRACTOR will establish and maintain a system for the receipt of all goods and
                                      materials being supplied by CONTRACTOR. This will include suitable inspection
                                      criteria which allows for identification of conforming and non conforming equipment. A
                                      quarantine area for non conforming equipment will be established.


                 3.0    NON-CONFORMING GOODS

                        3.1   CONTRACTOR will establish and maintain a system that identifies any goods and materials
                              supplied which do not conform to specifications i.e., Non Conformance Reports (NCRs).


                        3.2   The system will be capable of managing any non conformances identified either through
                              design, goods receipt inspection, assembly and testing, inspection and maintenance
                              regimes, CONTRACTOR internal audits, COMPANY audits or inspections and any failed in
                              service items as identified either by CONTRACTOR's field personnel or COMPANY's field
                              representatives.


                        3.3   Where non conformances are identified, CONTRACTOR will perform, within a time period
                              acceptable to COMPANY, all corrective actions required to prevent recurrence.


                        3.4   Corrective actions undertaken by CONTRACTOR as a result of non-conformances identified
                              will be undertaken at no cost to COMPANY.


                 4.0    INSPECTION AND TESTING STANDARDS: including acceptance I reject criteria, using Original
                        Equipment Manufacturer or Supplier (OEM) specifications as a minimum.

                        4.1   CONTRACTOR will establish and maintain a formal inspection management system for all
                              goods and materials supplied; the system will as a minimum:

                              4.1.1    Provide detailed inspection speCifications, including acceptance and rejection criteria
                                       for proprietary equipment and materials supplied by CONTRACTOR and any
                                       SUBCONTRACTOR.

                              4.1.2    Meet OS-1 Category 4 inspection requirements for components covered by TH Hill
                                       Associates, Inc. Standard 08-1 Drill Stem Design Inspection latest revision or
                                       alternatively the Drilling Equipment Inspection Procedures (DEIP), as applicable to
                                       the goods and services supplied by CONTRACTOR and any SUBCONTRACTOR.

                              4.1.3    Provide competent inspectors of the equipment, qualified and competent to perform



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                                      the inspection required.

                              4.1.4   Will use and demonstrate compliance with DS-1 I DEIP (where applicable) and
                                      specified inspection criteria. The requirements are applicable to all pipe I tubulars
                                      used down hole.

                        4.2   CONTRACTOR will provide the specifications and criteria used for the inspection of goods
                              and materials supplied.

                        4.3   CONTRACTOR will establish and maintain a system for verifying the integrity of the
                              equipment through testing and inspection. The testing specification and standards for
                              equipment will be made available for review by COMPANY and COMPANY will have the right
                              to implement changes.


                        4.4   All assemblies will be tested in accordance with procedures approved by COMPANY prior to
                              release and shipment. Verification of testing may be required by COMPANY through its own
                              representatives. COMPANY and CONTRACTOR will develop a quality assurance plan as
                              part of the Statement of Requirements (SOR) which will provide details of the inspection and
                              acceptance criteria, witness and hold points required by COMPANY during manufacture, test,
                              and assembly.


                        4.5   All load bearing equipment. lifting equipment and lifting points will be inspected and tested in
                              accordance with LOLER requirements and with current certification for the duration of the
                              CONTRACT.


                        4.6   CONTRACTOR will be responsible for ensuring that its SUBCONTRACTORs comply with
                              the inspection and testing requirements.


                 5.0    MAINTENANCE MANAGEMENT SYSTEM

                        In accordance with OEM as a minimum, including compliance to US legislative requirements.

                        5.1   CONTRACTOR will establish and maintain a planned maintenance system for all goods and
                              materials supplied by CONTRACTOR and SUBCONTRACTORs.


                        5.2   The maintenance regimes will be as per OEM unless othelWise demonstrated that changes
                              to the routines are justified.


                 6.0    REPAIR STANDARDS AND PROCEDURES

                        In accordance with OEM as a minimum.

                        6.1   CONTRACTOR will establish and maintain refurbishment and repair procedures to ensure
                              the integrity of goods and materials supplied. These will be OEM standards as a minimum,
                              unless othelWise demonstrated that changes to the approved repair standard are justified.


                        6.2   CONTRACTOR will establish, qualify, and maintain approved welding procedures for the
                              goods and materials which require welding and will use suitably competent and coded



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                              welders (ASME IX) for any weld repair work.


                        6.3   CONTRACTOR will ensure SUBCONTRACTORs comply with this requirement.


                 7.0    FINAL INSPECTION PRIOR TO DISPATCH TO WORKSITE

                        7.1   CONTRACTOR will establish and maintain a final inspection system prior to dispatch of the
                              equipment to the WORKSITE. Signed release notes will be provided with the equipment.


                        7.2   The final inspection and check control system must ensure that the final product complies
                              with the original SOR and that all NCRs and any associated Corrective Action Requests
                              (CAR) have been closed out prior to release and shipping.


                 8.0    PURCHASING STANDARDS AND SPECIFICATIONS

                        8.1   Where CONTRACTOR purchases materials, spares and other equipment, CONTRACTOR
                              will establish and maintain a system that details and documents clearly the specifications
                              required to supply fit for purpose equipment. The specifications will include all material and
                              technical requirements, QA and legislative needs and any drawings (latest revisions).


                        8.2   OEM specifications will be used unless COMPANY agrees to use alternative specifications.


                 9.0    MATERIALS I EQUIPMENT TRACEABILITY

                        CONTRACTOR will establish and maintain a fully traceable system, including appropriate
                        documentation and certification for all the equipment including spares. As a minimum this will
                        provide:

                        9.1   Full traceability to heat numbers or lots (for all forgings and castings etc.)


                        9.2   Full traceability to cure and expiry dates (for all elastomers).


                        9.3   Full tool and service history (inspection, testing, maintenance, replacement of spare parts
                              and repairs undertaken).


                        9.4   Mapping and recording of tests, complete with verification testing undertaken (i.e., NDT
                              including hardness testing etc.), on any weld repair or heat treatment undertaken after
                              manufacture.


                        9.5   CONTRACTOR will compile all necessary documentation in accordance with specified
                              requirements, and such relevant documentation will be made available to COMPANY and lor
                              COMPANY's representative.


                        9.6   The minimum documentation to be held by CONTRACTOR relating to equipment supplied



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                               will include:

                               9.6.1 Data books with full traceability.

                               9.6.2Material certificate(s) for any equipment.

                               9.6.3 Load test records for load bearing and lor lifting hoisting equipment.

                               9.6.4 Rental history movements.

                               9.6.5 Refurbishment history including any weld repair maps.

                               9.6.6 Inspection and maintenance reports.

                               9.6.7 Failure histories.

                               9.6.80riginals of documents supplied with the tools.


                        9.7    CONTRACTOR will provide the following documentation with all equipment shipped to the
                               WORKSITE:

                               9.7.1   Certificate(s) of conformity.

                               9.7.2 Current inspection certificate.

                               9.7.3   Current pressure test certificate.

                               9.7.4 Certificate for slings and baskets.

                        9.8    Each item of equipment will be marked with a clearly identifiable unique permanent traceable
                               ! serial and part number.


                 10.0 CALIBRATION MANAGEMENT OF EQUIPMENT

                        10.1   CONTRACTOR will identify all equipment that requires calibration. CONTRACTOR will
                               establish and maintain a Calibration Management System and all equipment will conform to
                               the calibration schedules and technical requirements.


                        10.2 Calibration will be in accordance with calibration system specifications and include API Spec
                             7 requirements for API threads.


                        10.3 All equipment requiring calibration will be marked with last calibration, next due calibration
                             date and display details of the individual responsible for the calibration.



                 11.0 MANAGEMENT OF CHANGE

                        11.1   CONTRACTOR will establish and maintain a system for identifying and approving changes to
                               approved equipment deSign, standards, specifications and procedures. All changes to
                               approved designs etc. Whether permanent or temporary will be controlled and managed. All



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                               changes will be technically reviewed and will not compromise the integrity of the equipment
                               and will be suitable for the anticipated operating environment as specified. COMPANY's
                               representatives will take part in the review process.


                        11.2 The system for managing change will be auditable and managed by competent personnel
                             with appropriate technical and financial authorities.


                        11.3 The Management of Change System will be communicated to all CONTRACTOR personnel
                             and CONTRACTOR will use its best endeavors to ensure an appropriate level of
                             understanding of the system.


                        11.4 CONTRACTOR will establish and maintain a quality management process to control
                             equipment modification or repairs carried out by a SUBCONTRACTOR.


                 12.0 DOCUMENT CONTROL SYSTEM

                        12.1 All critical documents (standards, specifications, procedures, drawings, technical and
                             operating manuals etc.) will be identified and controlled through a formal document control
                             management system.


                        12.2 The system will identify recipients of the controlled documents and have the facility to gather
                             and destroy old and out of date revisions.


                 13.0 SELECTION AND APPROVAL OF COMPETENT SUBCONTRACTORS

                        13.1   CONTRACTOR will establish and maintain an auditable process and system for selecting
                               and approving competent SUBCONTRACTORs.


                        13.2 CONTRACTOR will identify the criticality of the goods and services being provided by its
                             SUBCONTRACTORs and depending upon criticality will implement necessary checks,
                             controls and safeguards to ensure quality and reliable goods and services are provided.
                             Such checks, controls, and safeguards will be detailed in the SUBCONTRACT.


                        13.3 CONTRACTOR will establish and maintain an approved list of SUBCONTRACTORs
                             indicating which materials, goods, or services are being supplied. The list will be made
                             available to COMPANY.


                 14.0 MANAGING SUBCONTRACTORS

                        14.1 CONTRACTOR will establish and maintain a performance measuring and monitoring system
                             for SUBCONTRACTORs. The system will include regular auditing and reviewing of a
                             SUBCONTRACTOR commensurate with the criticality of the goods and services being
                             provided. The system will provide both assurance to CONTRACTOR and COMPANY that
                             SUBCONTRACTORs are providing fit for purpose, quality and reliable equipment.




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                        14.2 CONTRACTOR will identify and implement checks and controls as part of its goods receipt
                             inspection system that provide CONTRACTOR and COMPANY with assurance that goods
                             and materials supplied by SUBCONTRACTORs comply with the purchase specification.


                        14.3 CONTRACTOR shall supply a copy of its planned audit schedule for SUBCONTRACTORs
                             during the life of the CONTRACT.          COMPANY shall have the option of placing a
                             representative with the audit team to monitor audits.


                 15.0 INTERNAL AUDIT SYSTEM

                        15.1     CONTRACTOR will establish and maintain its own internal auditing processes for assessing
                                 and assuring compliance of its QMS and management control systems. Audit reports and
                                 corrective action arising from these internal audits will be made available to COMPANY upon
                                 request and CONTRACTOR will advise progress against recommended actions.


                        15.2 CONTRACTOR shall supply a copy of its planned internal audit schedule during the life of
                             the CONTRACT. COMPANY shall have the option of placing a representative with the audit
                             team to monitor audits.


                 16.0 AUDIT BY COMPANY

                        16.1     COMPANY reserves the right and will from time to time perform audits on CONTRACTOR
                                 against the Scope of Work and CONTRACTOR's management systems and controls, as part
                                 of COMPANY's assurance system.


                        16.2 CONTRACTOR will allow COMPANY's representatives full access to the WORK in progress,
                             personnel, records, and documentation for the purpose of conducting quality audits; this
                             requirement also applies to SUBCONTRACTORs.


                        16.3 "Ad hoc" quality audits may be undertaken by COMPANY on CONTRACTOR's quality
                             systems, as and when deemed necessary by COMPANY, and may be carried out without
                             any prior notice to CONTRACTOR.


                 17.0 MANAGEMENT SYSTEM FOR                     INVENTORY      INCLUDING     SPARES,     STORAGE,      AND
                      HANDLING OF EQUIPMENT

                        17.1 CONTRACTOR will establish and maintain an inventory stock and spares control system.
                             The level of stock and spares will reflect the operational needs and WORK activities of
                             COMPANY. CONTRACTOR will be responsible for ensuring that adequate stock and spares
                             and including rental type equipment is available for COMPANY's use.


                        17.2 CONTRACTOR will be responsible for the storage and protection of all goods and materials
                             supplied.    Goods and materials will be adequately protected against damage and
                             deterioration; protection methods shall include:

                               17.2.1   Correct thread protectors for all threaded connections (composite plastic breathable
                                        type for premium connections, steel type for API type connections).



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                           17.2.2   All seal faces and areas will be adequately protected commensurate with their service
                                    criticality; these materials will be stored inside and away from corrosive environments
                                    and handled using non metallic lifting appliances.

                           17.2.3   Elastomers will be stored inside in an environmentally controlled atmosphere in closed
                                    packets (complete with cure date and expiry date details).

                           17.2.4   Packer, seal elements, and other elastomeric materials will be stored in an
                                    environmentally controlled facility, suitably protected against impact and corrosion
                                    damage.

                           17.2.5   Shear pins will be closely controlled to avoid the risk of improper use in the hanger
                                    assembly and preparation. Procedures will be in place to ensure segregation of new
                                    and used shear stock and other consumable items.




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                 1.0    TECHNICAL INTEGRITY FOR PROCURED EQUIPMENT

                        1.1    CONTRACTOR shall have established, implemented, and maintained a Quality Management
                               System (QMS) in conformance with the requirements of ISO 9001, API Q1 (ISO TS 29001)
                               or any other recognized or established standard I format as mutually agreed with COMPANY,
                               providing that all aspects of the CONTRACT and WORK which affect the quality of the
                               services supplied are defined, documented, proceduralized (where required), and controlled
                               under the system (including subcontracted services).


                        1.2    CONTRACTOR shall provide to COMPANY the WORK in accordance with the latest revision
                               of COMPANY Integrity Assurance Specification (lAS) for the procurement of critical
                               equipment, document references: BP-EPT-IAS-01; BP-EPT-IAS-02.


                        1 .3   CONTRACTOR shall implement and maintain location specific Quality Control Plans (QCPs)
                               and applicable work.ing procedures for the duration of the CONTRACT.


                        1.4    CONTRACTOR's QCP shall be submitted to COMPANY for acceptance prior to
                               commencement of the WORK.


                               1.4.1   Where a BP Global QCP has been established for the location, the BP Global QCP
                                       shall be used for the procurement of critical equipment. COMPANY shall designate
                                       which equipment is critical.

                               1.4.2   Where a BP Global QCP has not been established for the location, a Quality Control
                                       Plan that is compliant with the lAS appropriate to the equipment shall be developed
                                       and used for the procurement of critical equipment.         This QCP shall be at
                                       Examination Level 2. COMPANY shall designate which equipment is critical.


                        1.5    CONTRACTOR shall allow COMPANY QA auditors full access to the WORK in progress,
                               personnel, records, and documentation for the purpose of conducting quality audits.


                        1.6    CONTRACTOR shall allow COMPANY's Nominated Inspection Bodies (NIBs) full access to
                               the WORK in progress, personnel, records, and documentation for the purpose of conducting
                               surveillance activities.


                        1.7    "Ad hoc" quality inspections may be undertaken by COMPANY on CONTRACTOR's quality
                               systems, as and when deemed necessary by COMPANY, and may be carried out without
                               any prior notice to CONTRACTOR.


                        1.8    CONTRACTOR shall provide desk. space and internet access for COMPANY personnel
                               engaged in audits, "Ad hoc" quality inspections, and surveillance activities.




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                        1.9     Where non conformances are identified during audits and / or inspections by COMPANY or
                                COMPANY third party inspectors, CONTRACTOR shall undertake the corrective actions as
                                required by COMPANY, within agreed specified time limits.


                        1.10 Corrective actions undertaken by CONTRACTOR as a result of non conformances being
                             identified during a quality audit or inspection shall be undertaken at no cost to COMPANY.


                        1 .11   CONTRACTOR shall compile all necessary documentation in accordance with specified
                                requirements, and such relevant documentation shall be made available to COMPANY and /
                                or the Certifying Authority for certification purposes when and where appropriate.

                                1.11.1   Where an lAS appropriate to the equipment exists, documentation compiled shall be
                                         in accordance with the requirements specified in that lAS, the associated QCP, and
                                         the CONTRACT.

                                1.11.2 Where an lAS appropriate to the equipment does not exist, documentation compiled
                                       shall be in accordance with the requirements specified in the associated QCP and
                                       the CONTRACT.


                 2.0    TECHNICAL INTEGRITY FOR RENTAL EQUIPMENT AND SERVICE FACILITIES

                        2.1     CONTRACTOR shall have established, implemented, and maintained a OMS in
                                conformance with the requirements of ISO 9001, API 01 (ISO TS 29001) or any other
                                recognized or established standard / format as mutually agreed with COMPANY, providing
                                that all aspects of the CONTRACT and WORK which affect the quality of the services
                                supplied are defined, documented, proceduralized (where required), and controlled under the
                                system (including subcontracted services).


                        2.2     CONTRACTOR shall implement and maintain location-, product-, and job-specific QCPs and
                                applicable working procedures for the duration of the CONTRACT. All CONTRACTOR
                                working procedures shall clearly codify acceptance and rejection criteria.


                        2.3     CONTRACTOR's QCP shall           be submitted to COMPANY for acceptance prior to
                                commencement of the WORK.


                        2.4     COMPANY may require surveillance by a COMPANY Nominated Inspection Bodies (NIBs)
                                during inspection, disassembly, assembly, re-dress, repair and I or testing activities
                                associated with WORK.


                        2.S     CONTRACTOR shall allow COMPANY QA auditors full access to the WORK in progress,
                                personnel, records, and documentation for the purpose of conducting quality audits.


                        2.6     CONTRACTOR shall allow COMPANY's NIB full access to the WORK in progress,
                                personnel, records, and documentation for the purpose of conducting surveillance activities.




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                        2.7    "Ad hoc" quality inspections may be undertaken by COMPANY on CONTRACTOR's quality
                               systems, as and when deemed necessary by COMPANY and may be carried out without any
                               prior notice to CONTRACTOR.


                        2.8    \J\Ihere non conformances are identified during audits and I or inspections by COMPANY or
                               COMPANY third party inspectors, CONTRACTOR shall undertake the corrective actions as
                               required by COMPANY, within agreed specified time limits.


                        2.9    Corrective actions undertaken by CONTRACTOR as a result of non conformances being
                               identified during a quality audit or inspection shall be undertaken at no cost to COMPANY.


                        2.10 CONTRACTOR shall compile all necessary documentation in accordance with specified
                             requirements and such relevant documentation shall be made available to COMPANY and /
                             or the Certifying Authority for certification purposes when and where appropriate.


                        2.11   CONTRACTOR's QMS shall, as a minimum, include:

                               2.11.1   Design and Verification

                                        CONTRACTOR shall have an auditable and documented design and development
                                        process for all the equipment, materials, and services supplied. The design and
                                        development process shall be in accordance with the requirements specified in ISO
                                        9001 (latest revision) and / or API Q1 (latest revision).

                               2.11.2 Formal job descriptions / responsibilities I authority

                                        CONTRACTOR's personnel shall have formal job descriptions detailing their
                                        responsibilities for work and their authorities to act. These shall reflect the actual
                                        jobs that they perform and shall identify the required competencies and training
                                        requirements. These job descriptions, as well as the associated competencies and
                                        training requirements, shall be made available for review by COMPANY upon
                                        request.

                                        CONTRACTOR shall maintain records that provide evidence of personnel having
                                        met all required competency and training requirements. These shall be made
                                        available for review by COMPANY upon request.

                               2.11.3 Receiving inspection for all equipment (new, unused and used)

                                        CONTRACTOR shall establish and maintain a system for the receipt of all goods and
                                        materials being supplied by CONTRACTOR. This shall include suitable inspection
                                        criteria which allows for identification of conforming and non conforming equipment.
                                        A quarantine area for non conforming equipment shall be established.

                               2.11.4 Non Conformance Reporting System

                                        CONTRACTOR shall establish a non conformance reporting (NCR) system at
                                        CONTRACTOR's Service facility that will serve to document any equipment failures
                                        or any other type of noncompliance to requirements (e.g., process failures, personnel
                                        not following procedures, etc.).




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                                     The system shall provide the means for CONTRACTOR to document and track
                                     failures as well as provide the vehicle for "root cause" failure analysis leading to
                                     corrective and preventive actions to prevent repeat failures and advance continuous
                                     improvement.

                                     The system shall be capable of managing any non conformances identified either
                                     through design, goods receipt inspection, assembly and testing, inspection and
                                     maintenance regimes, CONTRACTOR internal audits, COMPANY audits or
                                     inspections, and any failed in service items as identified either by CONTRACTOR's
                                     field personnel or COMPANY's field representatives.

                                     NCRs associated with COMPANY equipment, including but not limited to assembly
                                     non conformances, shall be reported to COMPANY in a timely fashion (within 30
                                     days).

                                     CONTRACTOR shall establish and maintain a system that identifies any goods and
                                     materials received which do not conform to specifications Le., non conformance
                                     reports (NCRs).

                                     Where non conformances are identified, CONTRACTOR shall perform, within a time
                                     period acceptable to COMPANY, all corrective actions required to prevent
                                     recurrence.

                                     Corrective actions undertaken by CONTRACTOR as a result of non-conformances
                                     identified shall be undertaken at no cost to COMPANY.


                             2.11.5 Inspection and testing standards (including acceptance I rejection criteria) using
                                    Original Equipment Manufacturer or Supplier (OEM) specifications as a minimum.

                                     CONTRACTOR shall establish and maintain a formal inspection management
                                     system for all equipment, materials, and services supplied as a component of the
                                     WORK. The system shall as a minimum:

                                     (a)   Provide detailed inspection specifications, including acceptance and rejection
                                           criteria, for proprietary equipment and materials supplied by CONTRACTOR
                                           and any SUBCONTRACTOR.

                                     (b)   Meet DS-1 Category 4 inspection requirements for components covered by T
                                           H Hill Associates, Inc. Standard DS-1 Drill Stem Design Inspection latest
                                           revision and which is applicable to the goods and services supplied by
                                           CONTRACTOR and any SUBCONTRACTOR.

                                     (c)   Provide competent inspectors of the equipment, i.e., inspectors shall be
                                           qualified and competent to perform the inspection required.

                                     (d)   Shall use and demonstrate compliance with DS-1 (where applicable) and
                                           specified inspection criteria. The DS-1 requirements are applicable to all pipe I
                                           tubulars used downhole.

                                     Where the specifications and criteria used for the inspection of equipment, materials,
                                     and services supplied as a component of the WORK are not specified by
                                     COMPANY, CONTRACTOR shall provide the specifications and criteria used for the
                                     inspection of equipment, materials, and services supplied.




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                                     CONTRACTOR shall establish and maintain a system for verifying the integrity of the
                                     equipment through inspection, disassembly, assembly, re-dress, repair, and f or
                                     testing activities associated with WORK. The specifications and I or standards for
                                     equipment inspection, disassembly, assembly, re-dress, repair, and I or testing
                                     activities associated with WORK shall be made available for review by COMPANY
                                     and COMPANY shall have the right to implement changes.

                                     All assemblies shall be inspected, disassembled, assembled, re-dressed, repaired,
                                     and j or tested in accordance with procedures approved by COMPANY prior to
                                     release and shipment. Verification of testing may be required by COMPANY through
                                     its own representatives. COMPANY and CONTRACTOR shall develop a QCP as
                                     part of the Statement of Requirements (SOR) which shall provide details of the
                                     inspection and acceptance criteria, witness and hold points required by COMPANY
                                     during inspection, disassembly, assembly, re-dress, repair, and lor testing activities.

                                     Where COMPANY has identified the well as critical, all service and I or installation
                                     tools must be completely disassembled, inspected, re-dressed, re-assembled, and
                                     functionally tested in accordance with CONTRACTOR procedures.

                                     All load bearing equipment, lifting equipment, and lifting points shall be inspected and
                                     tested in accordance with LOLER requirements and with current certification for the
                                     duration of the CONTRACT.

                                     CONTRACTOR shall be responsible for ensuring that its SUBCONTRACTORS
                                     comply with the inspection and testing requirements.

                             2.11.6 Maintenance management system in accordance with OEM as a minimum, including
                                    compliance to US legislative requirements.

                                     CONTRACTOR shall establish and maintain a planned maintenance system for all
                                     equipment, materials, and services supplied as a component of the WORK by
                                     CONTRACTOR and SUBCONTRACTORS.

                                     The maintenance regimes shall be as per OEM unless otherwise demonstrated that
                                     changes to the routines are justified.

                             2.11.7 Repair standards and procedures in accordance with OEM as a minimum.

                                     CONTRACTOR shall establish and maintain refurbishment and repair procedures to
                                     ensure the integrity of equipment, materials, and services supplied. These shall be
                                     OEM standards as a minimum, unless otherwise demonstrated that changes to the
                                     approved repair standard are justified.

                                     CONTRACTOR shall establish, qualify, and maintain approved welding procedures
                                     for the goods and materials which require welding and shall use suitably competent
                                     and coded welders (ASME IX) for any weld repair work.

                                     CONTRACTOR shall ensure SUBCONTRACTORS comply with this requirement.

                             2.11.8 Final inspection prior to dispatch to WORKSITE

                                     CONTRACTOR shall establish and maintain a final inspection system prior to
                                     dispatch of the equipment to the WORKSITE. A copy of COMPANY's signed release
                                     notes shall be provided with the equipment.




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                                     The final inspection and control system shall ensure that the final equipment,
                                     materials, and services supplied as a component of the WORK comply with the
                                     original SOR and that all NCRs and any associated Corrective Action Requests
                                     (CAR) have been closed out to COMPANY's satisfaction prior to release and
                                     shipping.

                             2.11.9 Purchasing standards and specifications

                                     Where CONTRACTOR purchases materials, spares, and other equipment,
                                     CONTRACTOR shall establish and maintain a system that details and documents
                                     clearly the specifications required to supply fit for purpose equipment.  The
                                     specifications shall include all material and technical requirements, QA, and
                                     legislative needs and any drawings (latest revisions).

                                     OEM specifications shall be used unless COMPANY agrees to use alternative
                                     specifications.

                             2.11.10 Materials I equipment traceability and full tool histories including documentation and
                                     certification

                                     CONTRACTOR shall establish and maintain a fully traceable system for all the
                                     equipment including spares. As a minimum this shall include:

                                     (a)   Full traceability to heat numbers or lots (for all forgings and castings etc.).

                                     (b)   Full traceability to cure and expiration dates (for all elastomers).

                                     (e)   Full tool and service history (inspection, testing, maintenance, replacement of
                                           spare parts, and repairs undertaken).

                                     (d)   Mapping and recording of tests, complete with verification testing undertaken
                                           (i.e., NOT including hardness testing, etc.), on any weld repair or heat
                                           treatment undertaken after manufacture.

                                     CONTRACTOR shall compile all necessary documentation in accordance with
                                     specified requirements, and such relevant documentation shall be made available to
                                     COMPANY and lor COMPANY's representative.

                                     The minimum documentation to be held by CONTRACTOR relating to equipment
                                     supplied shall include:

                                     (a)   Data books with full traceability.

                                     (b)   Material test report(s) for any equipment.

                                     (e)   Load test records for load bearing and / or lifting hoisting equipment.

                                     (d)   Rental history movements.

                                     (e)   Refurbishment history including any weld repair maps.

                                     (f)   Inspection and maintenance reports.

                                     (g)   Failure histories.




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                                     (h)   Originals of documents supplied with the tools.

                                     CONTRACTOR shall provide the following documentation with all equipment shipped
                                     to the WORKSITE:

                                     (a)   Certificate(s) of conformity.

                                     (b)   Current inspection certificate.

                                     (c)   Current pressure test certificate.

                                     (d)   Certificate for slings and baskets.

                                     Each item of equipment shall be marked with a clearly identifiable unique permanent
                                     traceable / serial and part number.

                             2.11.11 Calibration management of equipment

                                     CONTRACTOR shall identify all equipment that requires calibration. CONTRACTOR
                                     shall establish and maintain a Calibration Management System and all equipment
                                     shall conform to the calibration schedules and technical requirements.

                                     Calibration shall be in accordance with calibration system specifications and include
                                     API Spec 7 requirements for API threads.

                                     All equipment requiring calibration shall be marked with last calibration, next due
                                     calibration date and display details of the individual responsible for the calibration.

                             2.11.12 Equipment necessary to perform WORK

                                     At each workshop location that will be utilized to supply the whole or any portion of
                                     the WORK, CONTRACTOR shall identify and maintain, in proper working order and
                                     calibration status, all equipment, tools, gauges, instruments, devices, etc. that are
                                     required to perform the WORK in accordance with OEM, CONTRACTOR, and / or
                                     Industry Standards.

                             2.11.13 Management of Change: design I materials I approved programs and standards
                                     changes I deviations (temporary or permanent)

                                     CONTRACTOR shall establish and maintain a system for identifying and approving
                                     changes to approved equipment design, standards, specifications, and procedures.
                                     All changes to approved designs etc., whether permanent or temporary, shall be
                                     controlled and managed. All changes shall be technically reviewed and shall not
                                     compromise the integrity of the equipment and shall be suitable for the anticipated
                                     operating environment as specified. CONTRACTOR shall notify COMPANY of the
                                     intention to make changes in a timely manner in order to allow COMPANY's
                                     representatives to take part in the review process.

                                     The system for managing change shall be auditable and managed by competent
                                     personnel with appropriate technical and financial authorities.

                                     The Management of Change System shall be communicated to all CONTRACTOR
                                     personnel and CONTRACTOR shall use its best endeavors to ensure an appropriate
                                     level of understanding of the system.




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                                     CONTRACTOR shall establish and maintain a quality management process to
                                     control equipment modification or repairs carried out by a SUBCONTRACTOR.

                             2.11.14 Document Control System

                                     CONTRACTOR shall establish a document control system (DCS), as part of its QMS
                                     to control all documents required by the system. All critical documents, including
                                     standards, specifications, procedures, drawings, technical and operating manuals,
                                     work instructions, forms, checklists, etc. shall be controlled such that their revision
                                     level and revision status can be immediately identified. All the relevant documents
                                     (i.e., the most current revision of the documents) shall be available at the pOints of
                                     use at the WORKSITE or workshop facility.

                                     The DCS shall include a "master list" or some equivalent control feature to identify
                                     the current revision status of documents so that anyone questioning the revision
                                     status of a document can determine they do indeed have the most current document

                                     The DCS shall identify recipients of the controlled documents and have the facility to
                                     gather and destroy old and out of date revisions.

                             2.11.15 Selection and Approval of Competent SUBCONTRACTORS

                                     CONTRACTOR shall establish and maintain an auditable process and system
                                     identification, evaluation, measurement, and continued management of suppliers of
                                     competent SUBCONTRACTORS of equipment, materials, and services supplied as
                                     a component of the WORK.

                                     CONTRACTOR shall identify the criticality of the equipment, materials, and services
                                     supplied as a component of the WORK which are being provided by its
                                     SUBCONTRACTORS. CONTRACTOR shall identify and implement necessary
                                     checks, controls, and safeguards consistent with the criticality of subcontracted
                                     WORK in order to ensure that quality and reliable equipment, materials, and services
                                     are provided. Such checks, controls, and safeguards shall be detailed in the
                                     SUBCONTRACT.

                                     CONTRACTOR shall establish and maintain a controlled list of approved
                                     SUBCONTRACTORS. This list, the Approved Supplier List (ASL) , shall identify the
                                     scope of supply indicating which materials, goods, or services are being supplied by
                                     the individual SUBCONTRACTOR. The list shall be made available to COMPANY
                                     for review.

                             2.11.16 Managing SUBCONTRACTORS

                                     CONTRACTOR shall establish and maintain a performance measuring and
                                     monitoring system for SUBCONTRACTORS. The system shall include regular
                                     auditing and reviewing of a SUBCONTRACTOR commensurate with the criticality of
                                     the goods and services being provided. The system shall provide both assurance to
                                     CONTRACTOR and COMPANY that SUBCONTRACTORS are providing fit for
                                     purpose, quality, and reliable equipment

                                     CONTRACTOR shall identify and implement checks and controls as part of its goods
                                     receipt inspection system that provide CONTRACTOR and COMPANY with
                                     assurance that equipment, materials, and services supplied by SUBCONTRACTORS
                                     comply with the purchase specification.




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